  Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 1 of 92 Page ID #:700

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   15     [Additionalcounsel appear on signature page.]

   16           ~s            ./   UNITED STATES DISTRICT COURT
                      ~I ~7
. 1~                               CENTRAL DISTRICT OF CALIFORNIA

    ~8               Y~"~ F              SOUTHERN DIVISION
~.~•• ~
    19    DOLLARD McGANN; BARRY L. BRAGGER;            Master File ~To .
          PETER GERSHON; STEVEN COOPERMAN;               SACV-91-533--AHS(EEx)
   20     WILLIAM S. ATHERTON; IRVING SCHER;
          MICHAEL PATITUCCI, JR.; J. FLOYD             CLASS ACTION
   21     JOHNSON; SHULMAN, ROGERS, GANDAL,
          PORDY & ECKER, P.A.; JUDITH ISAACS;          SECOND AMENDED CONSOT~IDATED
   22     VIRGINIA DAVIS; JULIE SIROTA                 CLASS ACTION COMPLAIN'i FOR
          KARCHIN; and CHARLES FARBER, On              VIOLATION OF THE FEDERAL
   23     Behalf of Themselves and All Ct!.iers        SECURITIES LAWS
          Similarly Situated,
   24                                                  Plaintiffs Demand A
                                     Pl~inti.f~s,      Trial By Jury
   25          vs.

  26      COMMUNITY PSYCHIATRIC CENTERS,
          INC., JAMES W. CONTE, RICHARD L.
  27      CONTE, JAMES F. SMITH and LOREN B
          SHOOK,
  28
                                     Defendants
                                                                           ~~
          [Caption continued on next page.]
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 2 of 92 Page ID #:701



  1   In re COMMUNITY PSYCHIATRIC CENTERS
      SECURITIES LITIGATION
  2

  3   This Document Relates To:

 4          ALL ACTIONS.

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Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 3 of 92 Page ID #:702



 1          Plaintiffs,     by    their    undersigned        attorneys,       for   their

 2     Complaint against defendants, allege as follows:

 3                                  SUMMARY OF ACTION

 4          1.     This is a class action on behalf of all purchasers, other

 5     than defendants,     of    the   common   stock   of   Community     Psychiatric

 6     Centers ("CPC" or the "Company") between September 4, 1990 and

 7     November 4, 1991 (the "Class Period")             This action arises out of

 8     defendants' fraudulent scheme to inflate the price of CPC common

 9 ~   stock by misrepresenting the Company's current business condition

10     and future prospects and by falsifying CPC's reported financial

11     statements for the third and fourth quarters of fiscal 1990, the

12     full fiscal 1990 year ended November 30, 1990 and the first, second

13     and third quarters of fiscal 1991.             Defendants falsified CPC's

14     financial statements by improperly recognizing revenue on patient

15     billings,   manipulating     the   amounts    carried     on    CPC's     books   as

16     accounts receivable, and by failing to timely write-off doubtful or

17     uncollectible accounts.          The reasons CPC's financial statements

18     were materially false are set forth in the paragraphs hereafter

19     discussing the financial statements (August               31,   1990,     ¶¶37-39;

20     November 30, 1990, ¶¶48-50, 54; February 28, 1991, ¶¶59-61; May 31,

21     1991, ¶¶67-71; August 31, 1991, ¶~78-80)               The scheme unravelled

22     after CPC announced massive write-offs of its accounts receivable

23     in September and November 1991.           CPC's common stock, which traded

24     as high as $40 per share during the Class Period, fell to $12.50

25     per share after the fraudulent scheme was revealed.

26          2.     During   the   Class Period,     CPC operated       a   chain of 49

27     psychiatric hospitals through the United States and in England

28     providing    in-patient      and    outpatient     treatment        for    adults,


                                            - 2 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 4 of 92 Page ID #:703



 1    adolescents       and   children   with    acute   psychiatric,    emotional,

  2   addiction and behavioral disorders.             Since its founding in 1969,

 3    CPC built an impressive record of growth, having never failed to

 4    meet its goal of annual earnings-per-share growth of 150 or better.

 5    But that record was built in an environment of liberal employee

 6    benefit packages that fully insured in-patient care for mental

 7    health and drug and alcohol abuse problems.            That environment began

 8    to change in the U.S. in the late 1980's as psychiatric benefits

 9    provided by insurance companies and other third-party payors were

10    reduced and more tightly controlled.            By the beginning of 1990 the

11    industry had substantially moved toward managed care, toughening

12    hospital       admission   standards,     shortening    hospital   stays    and

13    insisting on larger discounts for in-patient treatment.

14            3.     Partly as a result of these pressures, in the first half

15    of fiscal 1990 CPC's patient admissions and patient days were down

16    in comparison to prior periods, and CPC's stock price declined as

17    well.        Defendants were determined to find a way to boost CPC's

18    stock price, in part, to pay for CPC's planned acquisition of

19    Charter Medical or "Charter."             Therefore, defendants repeatedly

20    assured the market, beginning in mid-1990, that CPC had a business

21    strategy      to ensure    continued   growth    and   profitability in    this

22    increasingly difficult and competitive environment as the lowest-

23    cost, highest-margin provider of inpatient psychiatric care, and

24    would continue to report 15o quarterly and annual earnings growth

25    in fiscal 1991 and beyond.

26          4.       In order to maintain the illusion of profitability and

27    growth and conceal the adverse impact of the changing business

28    climate, beginning in mid-1990 and continuing throughout the Class

                                             - 3 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 5 of 92 Page ID #:704



  1   Period defendants implemented a scheme to defraud the investing

  2   public by materially overstating CPC's publicly reported revenues

  3   and earnings.          To maintain the illusion of high patient volume and

 4    growing demand for its psychiatric services, CPC began granting

 5    more frequent and larger discounts to patients and third-party

 6    payors     and    admitting      lower-paying       and    no-pay    patients         at    its

 7    hospitals.        CPC hospitals also routinely waived patient payment

 8    obligations, such as co-insurance, co-payments and deductibles, and

 9    accepted patients on an "insurance only" or insurance as payment in

10    full basis, (known as "administrative allowances"), in order to

11    inflate CPC's admissions and patient days figures -- key indicators

12    which defendants knew were monitored by securities analysts.                                 To

13    maintain the illusion of profitability CPC failed to timely write-

14    off   doubtful      or    uncollectible         accounts    and     failed      to    deduct

15    discounts    and       allowances      from    gross    revenues     at   the        time    of

16    billing,    as    required       by    applicable      accounting    standards,            and,

17    instead, routinely booked the gross charges as revenue and carried

18    these    uncollectible       discounts        and   allowances      on    the    books       as

19    valuable accounts receivable.                 In addition, CPC hospitals engaged

20    in a variety of other improper and unconscionable practices to

21    inflate    revenues       and    earnings,      including     paying      bounties          for

22    patient referrals and buying patients from referral agencies and

23    "800 numbers," overcharging, billing for services which were not

24    provided     or    not     medically       necessary,       and     manipulating            and

25    falsifying medical records to obtain and maximize reimbursement and

26    maximize patient length of stay.

27          5.     As    a    result    of    the    defendants'     stream      of    positive

28    statements, the apparent growth in profits and earnings-per-share

                                                - 4 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 6 of 92 Page ID #:705



 1    that CPC reported, and defendants' forecasts of continued earnings

 2    growth of 15o in fiscal 1991 and beyond, CPC's stock was a strong

 3    performer during the Class Period.                         Beginning in September 1990,

 4    following defendant James Conte's forecast, published in Barron's,

 5    that CPC would earn $1.80 per share in fiscal 1990 and $2.10 per

 6    share in fiscal 1991 and the Company's announcement of a successful

 7    fiscal third quarter later that month, CPC stock advanced sharply

 8    in price.      After CPC announced in late January 1991 its impressive

 9    results for the fiscal year ended November 30, 1990, the price of

10    CPC stock reached a Class Period high of $40 per share.

11           6.     With its stock price thus artificially boosted to a 34-

12    week   high,       CPC    launched          an    attempt       to    acquire      its     troubled

13    competitor,        Charter       Medical,          which       in    early       1990    had     begun

14    reporting      huge       losses      from        the     write-off         of    bad     debt    and

15    contractual allowances.               Charter Medical was more than twice CPC's

16    size   and    in    order       to   complete           such    an    ambitious         acquisition

17    defendants had to increase and/or maintain CPC's stock price to

18    make CPC stock feasible consideration for part of the acquisition

19    price.      In order to distinguish and distance CPC from Charter's

20    well-publicized           financial         difficulties,            defendants         misled    the

21    market      that    as    the    low    cost,        high-margin            provider,      CPC     was

22    successfully meeting its earnings projections while successfully

23    managing     its    accounts         receivable.            When      it    became      obvious    to

24    defendants     that       the    write-off          of    bad       debt    and   administrative

25    allowances would cause CPC to report a decline in earnings in the

26    second quarter of fiscal 1991, defendants deliberately reversed and

27    reinstated         more    than        S6        million       in     worthless         bad     debt,

28    administrative           allowances          and        insurance          denials      which     had

                                                       - 5 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 7 of 92 Page ID #:706



  1    previously been written-off as uncollectible, in order to create

  2    the entirely false appearance that the Company had achieved another

 3 I   profitable quarter of double-digit earnings growth.

 4             7.      None of the positive statements set forth below which

 5     were issued by CPC or endorsed by the defendants during the Class

 6     Period were true when issued.             In truth, CPC's purported historical

 7     success and prospects for continued growth in earnings during the

 8     Class Period were materially dependent on improperly recognizing

 9     revenues on patient billings, manipulating the amounts carried on

10     its books as accounts receivable and failing to timely write-off

11     doubtful or uncollectible accounts.                 Defendants implemented the

12     scheme to mislead investors about CPC's financial performance by

13     (1) failing to record any reserve for uncollectible accounts on

14.    patient accounts less than 120 days old; (2) reporting as revenue

15     amounts       which   CPC   had   agreed,    by    agreement    with   the   patient

16     (administrative allowance), contract with the insurance company or

17     other third-party payor (contractual allowance) or otherwise, not

18     to collect; (3) carrying as valid accounts on CPC's books amounts

19     which were known to be uncollectible; (4) "spreading" instead of

20     writing off bad debts and administrative and contractual allowances

21     to avoid "taking the hit" to earnings; (5)                     reversing accounts

22     previously written off as bad debt, administrative allowances, or

23     insurance denial amounts, and reinstating them                   to the accounts

24     receivable despite the already serious under-reserve situation at

25     CPC's        hospitals;     (6)   billing    for     services    which   were      not

26     documented,       not   provided,    or    not    medically   necessary;     and   (7)

27     fraudulently manipulating patient medical records and falsifying

28     patient diagnosis to obtain               reimbursement and     maximize     patient


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Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 8 of 92 Page ID #:707



  1   stays.       Defendants employed these improper and misleading patient

  2   recruiting, accounting and revenue recognition practices in order

 3    to    give    the   false         impression       that     demand    for    CPC's     services

 4    remained strong and would support defendants' repeated statements

 5    that CPC would continue to attain 150 or better earnings growth and

 6    thus     artificially          inflate        CPC's       reported    earnings.          These

 7    accounting       manipulations            artificially          inflated,      by     material

 8    amounts, CPC's reported revenues and earnings in the third and

 9    fourth quarters of fiscal 1990, the fiscal year 1990 ended November

10    30, and the first, second and third quarters of 1991.

11           8.      The scheme began to unravel when suddenly, on September

12    27,    1991,    the    Company         announced      a   $23     million    charge    against

13    earnincrs for bad debts and revealed that income for the                                 third

14    quarter of fiscal 1991 would decline 98o and would only be $0.01

15    per share       compared to market expectations of $0.48 to $0.50 per

16    share.      That day, the price of CPC stock fell more than $6.50 -- an

17    almost 27o decline -- to $17.25 per share.                        This massive charge was

18    precipitated        by      the    refusal     of     the     Ontario       (Canada)    Health

19    Insurance      Plan      ("OHIP")        to   pay     for    $7    million     in    contested

20    receivables,          the     write-off       of     $3     million     in    uncollectible

21    receivables at its Horizon hospital in Pomona, California which it

22    had closed, and the addition of $13 million to the general reserve

23    for uncollectible accounts.                   In addition, in October 1991, CPC

24    engaged Ernst & Young to conduct a "detailed review" of accounts

25    receivable.           Based       on   that   review,       the    Company     announced    on

26    November 4, 1991, that it would take an additional charge of $14

27    million in the fourth quarter to cover further anticipated losses

28    in accounts receivable.                 Following these revelations, CPC stock


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Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 9 of 92 Page ID #:708



 1     fell to $12.50 per share on November 4, 1991, compared to its Class

 2      Period high of $40 per share.                                                 While investors who purchased CPC

 3      stock       during          the         Class               Period              have          suffered                  damages              of        many

 4      millions of dollars, CPC insiders pocketed more than $14 million by

 5      selling 507,611 shares of their CPC stock at prices which were

 6      artificially inflated by their fraudulent scheme.

 7                 9.    The stock charts below demonstrate the collapse of CPC's

 8     stock        price        as       the         true           facts             about          its financial                        performance

 9     emerged, the insider selling of CPC stock by defendants at inflated

10     prices, and that the action of CPC's stock during the Class Period,

11     when compared to an index of similar stocks, was largely due to

12     Company-specific statements and facts, as opposed to industry-wide

13     factors or stock movements.

14                                                                 Community Psychiatric
                                                                   March 1990 -March 1992
15                                                                  Average Weeldy Price
                   45
16

l~                 40                                               Dsa 1990
                                                                    In~ld~r~ ~dl
                                                           I        ~9,0~ sh~ra
18                                                                  for $8,972,710
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20        '~       30
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22            ~
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               .                                                 Sept. -Nov. 1990
                                                                 Intld~r~ sNl
                                                                 198.346 eharee
23                 2~                                            for ~ 5,456,422
                                                           I~_                     CLASS PERIOD                           ~
24                                                                             Sept. 4, 1990 -Nov. 4, 1991
                   15
25

26                 io ~aMv~o              oe,mEao               IIe-oaao              ~~Rwa~              o~-~uw~              zr-~~             i~.~.n~os
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     cpcfnl

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Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 10 of 92 Page ID #:709



  1
                                                    Community Psychiatric Centers
                                                       vs. Salomon Bros. Group
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                                                    March 16, 1990 -March 31, 1892
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 14                10-Mv~O    12~JUW0    Oe-Bp-GO    90-NoviO    27-Feb-Y1    r
                                                                              7l~MgAi    10-Auy-01    12-NovGi    O7-Feb~G2
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 15

 16                                           JURISDICTION AND VENUE

 17          10.        This Court has jurisdiction over the subject matter of

 18   this action pursuant to Section 27 of the Securities Exchange Act

 19   of 1934 ("Exchange Act"), 15 U.S.C. §78aa, 28 U.S.C. §1331.                                                              The

 20   claims        asserted            herein       arise       under         §§10(b)          and       20(a)        of      the

 21   Exchange          Act,       15    U.S.C.         §~78j(b)             and    78t(a),           and      Rule         lOb-5

 22   promulgated thereunder by the Securities and Exchange Commission

 23   ("SEC").

 24          11.        Venue is proper in this district pursuant to §27 of the

 25   Exchange          Act       and    28     U.S.C.          §1391(b)               Many        of     the      acts        and

 26   transactions giving rise to the violations of law complained of

 27   herein,         including           the       preparation               and       dissemination                  to      the

 28   investing public of false and misleading information, occurred in


                                                                - 9 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 11 of 92 Page ID #:710



  1    this district.     At the time this action was commenced, CPC had its

  2    principal place of business in this district.

  3         12.      In connection with the acts, conduct and other wrongs

  4    complained of, the defendants, directly or indirectly, used the

  5    means   and   instrumentalities of    interstate    commerce,   the United

  6    States mails and the facilities of the national securities markets .

  7                                   THE PARTIES

  8    Plaintiffs

  9         13.      Each plaintiff herein purchased shares       of   CPC common

 10   stock during the Class Period as follows and each has been damaged

 11   thereby:

 12   Plaintiff Stock               Purchase            Shares             Price
      Purchasers                      Date           Purchased         Per Share
 13
      Dollard A. McGann             02/12/91                200        33.25
 14
      Barry L. Bragger              05/01/91                50         34.25
 15                                 10/24/91                50         13.625

 16   Peter Gershon                 06/17/91                 25        31.875

 17   Steven Cooperman              04/30/91                 25        34.375

 18   William S. Atherton           07/18/91              7,600        23.125
                                    07/18/91              2,400        20
 19
      Irving Scher                  04/05/91              1,000        37.375
 20
      Michael Patitucci, Jr.        09/23/91               500         28.5
 21
      James Floyd Johnson           08/02/91               100         30
 22
      Virginia Davis                09/27/91               100         17.375
 23
      Charles M. Farber             07/15/91               100         29.125
 24
      Shulman, Rogers, Gandal, 08/13/91                    300         26.50
 25   Pordy and Ecker P.A.     10/02/91                    200         16.125

 26   Judith N. Isaacs              09/24/91               300         23.5

 27   Julie Sirota Karchin          02/08/91               500         31.75

 28   Defendants


                                         - 10 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 12 of 92 Page ID #:711



   1          14.     During the Class Period, defendant CPC maintained its

   2     principal     offices      in   Laguna     Hills,    California.        The     Company

   3     operated a chain of 49 acute psychiatric hospitals in the United

  4      States and the United Kingdom.             CPC common stock is actively traded

   5     in an efficient market on the New York Stock Exchange under the

  6      symbol "CMY."

   7          15.     a.     At all relevant times, defendant James W. Conte ("J.

  8      Conte") was Chairman of the Board and Chief Executive Officer of

  9      the Company.       During the Class Period J. Conte sold 145,213 shares

 10      of CPC common stock while in the possession of material adverse,

 11      non-public       information    regarding      the   Company.         Because      of    J.

 12      Conte's position with the Company he had access to the adverse non-

 13      public information about its financial condition and present and

 14      future     business      prospects    via     access     to   internal       corporate

 15      documents,       conversations      and    connections    with    other      corporate

 16      officers    and    employees,     attendance       at management       and    Board      of

 17      Directors' meetings and committees thereof and via reports and

 18      other information provided to them in connection therewith.                              J.

 19      Conte signed the Company's annual report on Form 10-K for the

 20      fiscal year ended November 30, 1990 and the Letter to Shareholders

 21      in the Company's 1990 Annual Report.

 22                   b.     At    all   relevant     times    since   December       1,    1990,

 23      defendant Richard L. Conte ("R. Conte") has been President and

 24      Chief Financial Officer of the Company.                In May 1991 he became a

 25      director    of    the    Company.     Prior    to    December    1,    1990,      he    was

 26 I~   Executive Vice President.            During the Class Period R. Conte sold

 27      107,410 shares of CPC common stock while in the possession of the ~

 28      material adverse, non-public information regarding the Company.

                                                   - 11 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 13 of 92 Page ID #:712



  1    Because of R. Conte's position with the Company he had access to

  2    the adverse non-public information about its financial condition

  3    and   future    business prospects            via    access   to    internal      corporate

  4    documents,     conversations          and     connections      with      other    corporate

  5    officers   and      employees,        attendance      at   management      and     Board    of

      Directors'      meetings       and    committees      thereof       and   via    reports    and

  7    other information provided to them in connection therewith.                                R.

  8    Conte   signed      the    Company's       annual    report    on   Form    10-K    for    the

  9   fiscal year ended November 30, 1990, and the quarterly Form 10-Q

 10   reports for the quarters ended August 31, 1990, February 28, 1991

 11   and May 31, 1991, and the Letter to Shareholders in the Company's

 12   1990 Annual Report.

 13                c.        At all relevant times, defendant James P. Smith

 14   ("Smith")     has been Senior Vice President, Principal Accounting

 15   Officer, Treasurer and Secretary of the Company.                          During the Class

 16   Period Smith sold 14,735 shares of CPC common stock while in the

 17   possession        of    the        material    adverse,       non-public         information

 18   regarding the Company.               Because of defendant Smith's position with

 19   the Company he had access to the adverse non-public information

 20   about its financial condition                   and   present       and future      business

 21   prospects via access to internal corporate documents, conversations

 22   and    connections          with    other     corporate     officers       and    employees,

 23   attendance      at     management       meetings      and    via     reports      and   other

 24   information provided to them in connection therewith.                           Smith signed

 25   the Company's 1990 Form 10-K.

 26               d.         At    all    relevant     times      since    December      1,   1990,

 27   defendant Loren B. Shook ("Shook") has been President-U.S. Hospital 'l,

 28   Division.       In May 1991 he became a director of the Company.                        Prior


                                                   - 12 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 14 of 92 Page ID #:713



  1    to December 1, 1990, he was Executive Vice President.                        During the

  2    Class Period Shook personally sold 142,681 shares of CPC common

  3    stock   while      in   the   possession     of    material      adverse,    non-public

  4    information regarding the Company.                 Because of defendant Shook's

  5    position with the Company he had access to the adverse non-public

  6    information about its financial condition and present and future

  7    business prospects via access to internal corporate documents,

  8    conversations and connections with other corporate officers and

  9    employees,      attendance      at   management          and    Board   of   Directors'

 10    meetings     and    committees       thereof       and    via    reports     and    other ',

 11    information provided to them in connection therewith.

 12         16.    Defendants J. Conte, R. Conte, Smith and Shook, sometimes

 13    referred to herein as the "Individual Defendants," are primarily

 14   liable for the misrepresentations, omissions, course of conduct,

 15    scheme, devices and artifices to defraud alleged herein.                           At all

 16   times material hereto, each of the Individual Defendants was the

 17   agent of the Company, and at all times acted with the course and

 18   scope of said agency.             The Individual Defendants, by reason of

 19   their stock ownership, management position, and/or membership on

 20   the Company's Board of Directors, are also secondarily liable for

 21   the wrongs alleged herein since they were controlling persons of

 22   the Company and had the power and influence, and exercised the

 23   same, to cause CPC to engage in the illegal practices complained of

 24   herein.

 25         17.    As officers, directors and/or controlling persons of a

 26   publicly-held company whose stock is registered with the SEC under

 27   the   1934    Act    and   traded     on   the     New    York   Stock   Exchange,     the

 28   defendants had a duty to promptly disseminate accurate and truthful

                                                 - 13 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 15 of 92 Page ID #:714



  1    information with respect to the Company's operations, business,

  2    products,      markets,      management,       earnings,       present    and    future

  3    business prospects, to correct any previously issued statements

  4    that had become untrue and to disclose any adverse trends that

  5    would materially affect the present and future financial operating

  6    results of the Company, so that the market price of the Company's

  7    stock would be based upon truthful and accurate information.

  8          18.     The    Individual      Defendants       also    benefitted       from    the

  9    illegal     course    of    conduct    by     selling   the    Company's       stock    at

 10    artificially inflated prices.               Each defendant had a duty to make

 11   full and complete disclosure before selling their CPC stock, which

 12   they did not do.         In fact, they sold stock in the Company owned by

 13   them    at     artificially     inflated        prices   without     disclosing         the

 14   material adverse and non-public facts about the Company to which

 15   they    were    privy,      despite    their    duty   to     disclose    all   material

 16   adverse facts or refrain from trading in the Company's stock.

 17          19.     The Individual Defendants, because of their positions

 18   with the Company, controlled the contents of its quarterly and

 19   annual reports, press releases and presentations to securities

 20   analysts.       Each Individual Defendant was provided with copies of

 21   the    Company's reports and press releases alleged                      herein    to be

 22   misleading prior to or shortly after their issuance and had the

 23   ability and opportunity to prevent their issuance or cause them to

 24   be corrected.         Because of their positions and access to material

 25   non-public information available to them but not the public, each

 26   of these defendants knew or recklessly disregarded that the adverse

 27   facts specified herein had not been disclosed to and were being

 28   concealed from the public and that the positive representations

                                               - 14 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 16 of 92 Page ID #:715



  1    which were being made were then false and misleading.                        As a result,

  2    each of the Individual Defendants is responsible for the accuracy

  3    of   the     public    reports     and    releases      detailed   herein      as   "group

  4    published" information and is therefore responsible and liable for

  5    the representations contained therein.

  6           20.    Each of the defendants is liable as a direct participant

  7    in the wrongs complained of herein.                     The Individual Defendants'

  8    actions and their scheme and course of conduct were designed to and

  9    did: (1) deceive the investing public, including plaintiffs and

 10   other       Class     members,      regarding         CPC's   financial    performance,

 11   financial condition, business practices and future business and

 12   earnings prospects; (2) artificially inflate the market price of

 13   CPC common stock during the Class Period; (3) cause plaintiffs and

 14   other members of the Class to purchase or otherwise acquire CPC

 15   common      stock      at   inflated       prices;      (4)   permit    the    Individual

 16   Defendants to sell large amounts of their CPC common stock at

 17   inflated prices; and (5) increase the value of options to purchase

 18   CPC    stock     owned      by    each     of   the    Individual      Defendants.       In

 19   furtherance of this scheme and course of business, defendants, and

 20   each of them, took the actions as herein set forth.

 21                          CPC'S INTERNAL BUDGETS, FORECASTS,
                                    PLANS AND PROJECTIONS
 22
             21.     Key management tools for the Company's top executives
 23
      were its business plan, budget, forecast and/or projection, by
 24
      which the Company's top executives set performance goals for CPC
 25
      hospitals       and    then      closely    monitored     the   corporation's        actual
 26
      performance, i.e., results of operations, compared to the planned,
 27
      budgeted and/or forecasted results.                      These plans, forecasts and
 28

                                                  - 15 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 17 of 92 Page ID #:716



  1     budgets were prepared on an annual basis and updated monthly during

  2 i   the year, and covered each CPC hospital including CPC's hospitals

  3     in the United Kingdom.       All of the Individual Defendants were aware

  4     of CPC's internal plan, forecast and budget and of the internal

  5     financial    reports    prepared     and    circulated,     at   least   monthly,

  6     comparing    CPC's     actual     results   to    those   previously     planned,

  7     budgeted and/or forecasted.           CPC's top executives including the

  8     Individual Defendants used its internal plan, budget and forecast

  9     as the purported basis for the statements they made publicly about

 10     the Company's performance during the Class Period.               CPC's corporate

 11     accounting office maintained the general ledger for each of the

 12     hospitals.     Each month the hospitals forwarded monthly data to

 13     corporate accounting and the defendants named herein regarding each

 14     hospital's performance including census, payor mix, admissions,

 15     length of stay, gross accounts receivable, accounts receivable

 16     weeks outstanding, cash collections, suggested bad debt write-offs,

 17     bad debt reserve, contractual allowance amounts, administrative

 18     allowance amounts and the like.             Based in part on the negative

 19     internal    reports    of   the   Company's      actual   business   performance

 20     compared to that planned, budgeted and forecasted, including the

 21     monthly package received from the hospitals, the defendants knew or

 22     recklessly disregarded that their positive public statements, and

 23     those of securities analysts for which the Company is responsible,

 24     were false and misleading when made and artificially inflated the

 25     market price of CPC's stock.

 26                            FRAUD-ON-THE-MARKET DOCTRINE

 27          22.    The market for CPC stock is an efficient market for the

 28     following reasons, among others:

                                             - 16 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 18 of 92 Page ID #:717



  1                 a.    CPC met the requirements for listing, and was listed

  2    on the New York Stock Exchange, a highly efficient and automated

  3    market;

  4                 b.    as a regulated issuer, the Company filed periodic

  5    public reports with the SEC;

  6                 c.    the    Company's       trading      volume    was    substantial,

  7    averaging above 300,000 shares per day during the Class Period,

  8    thereby reflecting numerous trades each day; and

  9                 d.    the    Company was followed by analysts employed by

 10    brokerage firms who wrote reports which were distributed to the

 11    sales force and certain customers of their respective brokerage

 12   firms   and    which     were   available    to   the    public.        Each    of   these

 13    reports was publicly available and entered the public marketplace.

 14    The brokerage firms, which issued research reports on the Company

 15    during the Class Period, are identified herein.

 16                             PLAINTIFF CLASS ALLEGATIONS

 17         23.     Plaintiffs bring this action as a class action pursuant

 18   to Federal Rules of Civil Procedure 23(a) and 23(b) (3) on behalf of

 19   all   persons      who    purchased    the    common      stock    of     CPC    between

 20   September 4, 1990 through November 4, 1991 (the "Class")                        Excluded

 21   from the Class are the defendants herein, members of the immediate

 22   family of each of the Individual Defendants, any entity in which

 23   any defendant has a controlling interest, and the legal represen-

 24   tatives, heirs, successors or assigns of any such excluded party.

 25         24.     a.    The    members    of    the   Class   are     so    numerous     that

 26   joinder of all members is impracticable.                While the exact number of

 27   Class members is unknown to plaintiffs at the present time, CPC has

 28


                                             - 17 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 19 of 92 Page ID #:718



  1    more than 46 million shares of common stock outstanding, owned by

  2    approximately 3,000 shareholders of record throughout the country.

  3               b.      Plaintiffs' claims are typical of the claims of the

  4    Class   because    plaintiffs      and     all   the    Class   members      sustained

  5    damages   which     arose   out    of     the    defendants'        wrongful    conduct

  6    complained of herein.

  7               c.      Plaintiffs are representative parties who will fully

  8    and   adequately       protect    the     interests     of    the    Class     members.

  9    Plaintiffs have retained counsel who are experienced and competent

 10    in both class action and securities litigation.                 Plaintiffs have no

 11   interest which is contrary to or in conflict with those of the

 12    Class they seek to represent.

 13               d.      A   class     action    would   be    superior      to    all   other

 14   available methods for the fair and efficient adjudication of this

 15    controversy.      Plaintiffs know of no difficulty to be encountered in

 16    the management of this action that would preclude its maintenance

 17   as a class action.

 18               e.      The prosecution of separate actions by individual

 19   Class    members    would    create a risk         of   inconsistent      and    varying

 20   adjudications       concerning      the     subject      of    this    action,      which

 21   adjudications could establish incompatible standards of conduct for

 22   defendants under the laws alleged herein.                     Further, questions of

 23   law and fact common to the members of the Class predominate over

 24   any questions which may affect only individual members in that

 25   defendants have acted on grounds generally applicable to the entire

 26   Class.     Among the questions of law and fact common to the Class

 27   are:

 28

                                               - 18 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 20 of 92 Page ID #:719



  1 1                       i.    Whether       the    federal      securities    laws   were

  2 1   violated by defendants' acts as alleged herein;

  3                        ii.    Whether CPC's publicly disseminated statements

  4     during the      Class Period omitted and/or misrepresented material

  5     facts;

  6                       iii.    Whether defendants participated in and pursued

  7     the scheme and course of conduct complained of;

  8                        iv.    Whether       defendants          acted   willfully       or

  9     recklessly in omitting and/or misrepresenting material facts or in

 10     scheming to make such misstatements;

 11                         v.    Whether the market prices of CPC common stock

 12     during the      Class Period were         artificially inflated due           to the

 13     nondisclosure and/or misrepresentations complained of herein; and

 14                        vi.    The extent of injuries sustained by members of

 15     the Class and the appropriate measure of damages.

 16                       CPC'S GUIDANCE TO SECURITIES ANALYSTS
                        AND USE OF THEM AS A CONDUIT TO FEED FALSE
 17                       INFORMATION TO THE SECURITIES MARKETS

 18          25.       Analysts employed by securities firms prepare written

 19     reports and make recommendations from time to time about public

 20     companies such as CPC.           In writing their reports, these analysts

 21     rely in substantial part upon information provided by and state-

 22     ments    and    reports   made    publicly       by   the    Company,    information

 23     provided to them privately by the Company, and assurances by the

 24     Company    that    information     in    the    analysts'     reports    is   not   at

 25     material variance from the Company's internal knowledge of its

 26     operations and prospects.

 27          26.       CPC's stock is followed by securities analysts employed

 28     by brokerage houses which issue reports and make recommendations

                                                - 19 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 21 of 92 Page ID #:720



  1     concerning CPC's common stock               to their clients.          CPC used its

  2     communications to analysts to assure them that CPC's business was

  3     strong, that demand was strong and growing, that the Company was

  4     successfully transitioning from a high-margin, low volume company

  5     to a low-margin, high volume company, and that the Company was on

  6     track to achieve its forecasted 15o earnings-per-share growth in

  7     fiscal 1991 and beyond.            During all relevant times defendant R.

  8 '   Conte was the CPC officer who principally communicated with the

  9 1   analysts on behalf of CPC, who reviewed and approved the analysts'

 10     reports about CPC and who conducted the quarterly conference calls

 11     with analysts for CPC.             The securities analysts following CPC,

 12     including Donaldson, Lufkin and Jenrette, Cowen & Co., Merrill,

 13     Lynch,    Pierce,    Fenner   &    Smith,     The    First    Boston    Corporation,

 14     Wertheim     Schroder     &   Co.,     Inc.    and    Salomon    Brothers,       Inc.,

 15     reiterated defendant R. Conte's representations in their research

 16     reports.

 17           27 .   During the Class Period, it was the Company's practice to

 18     have its top officers, particularly R. Conte, communicate regularly

 19     with securities analysts at these and other firms to discuss, among

 20     other    things,    the   Company's        prospects,   its    operating      results,

 21     anticipated revenues and to provide detailed "guidance" to these

 22     analysts     with   respect   to     the    Company's   business       and   projected

 23 I   revenues and earnings.             These    communications included frequent

 24     conference calls, telephone calls with individual analysts, and

 25     analyst briefings where the defendants discussed many aspects of

 26     the Company's operations and financial prospects including length

 27     of   stay,    patient     days,    patient      admissions,     age     of   accounts

 28     receivable and the like.          The defendants knew that by participating


                                               - 20 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 22 of 92 Page ID #:721



  1    in   these   regular,         periodic      communications        with    analysts,   the

  2    Company could disseminate information to the investment community

  3    and investors would rely and act upon such information (i.e., make

  4    purchases and sales of the Company's securities).                     The substance of

  5    these communications were planned, reviewed, and approved by top

  6    officers and management at CPC.

  7          28.    The    information       about      CPC     contained    in    the   various

  8    securities analysts' reports published during the Class Period was

  9    obtained from or based on information obtained from defendants.

 10    Copies of drafts of these reports were provided to defendants

 11    before   they      were    released      and    those    drafts    were    reviewed   and

 12    approved     by    them.       Defendants        knew    of   these      reports,   their

 13    contents, that they would be issued to members of the investing

 14   public,      be    circulated     throughout        the   investment       community   and

 15   impact    the      trading     price    of      CPC's    common    stock.     Defendants

 16   endorsed these reports, including the projections, forecasts and

 17   statements contained therein, adopted them as their own and placed

 18   their imprimatur on them.              Despite their duty to do so, the defen-

 19   dants failed to correct these statements by revealing the true

 20   adverse information known only to them during the Class Period.

 21          29.    The investment community, and in turn, investors, relied

 22   and   acted       upon   the    information       communicated       in    these   written

 23   reports which recommended that investors purchase CPC common stock.

 24                                   BACKGROUND ALLEGATIONS

 25          30.    This action arises out of dishonest conduct by the senior

 26   management of CPC to misrepresent the profitability of its business

 27   by employing improper patient recruiting, accounting and revenue

 28   recognition practices in order to give the false impression that

                                                 - 21 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 23 of 92 Page ID #:722



  1    demand   for    CPC's   services   remained       strong,    its     business   was

  2    profitable, and that the Company would continue to report earnings

  3    growth of 150 or better in fiscal 1991 and beyond.                 The purpose and

  4    effect of this deceit was to artificially inflate the trading price

  5    of CPC stock throughout the Class Period, so these insiders could

  6    sell thousands of shares of their personal holdings of CPC's stock

  7    and to enable them to use the inflated stock as consideration in a

  8    bid to acquire Charter Medical, a troubled competitor.

  9           31.   Since   its founding in 1969,          CPC    built    an   impressive

 10    record of growth, having never failed to meet its goal of annual

 11    earnings-per-share growth of 150 or more.              That growth and success

 12    occurred in an environment of liberal employee benefit packages

 13    that encouraged workers to seek in-patient care for mental health

 14    and drug and alcohol abuse problems.                                                  ~I

 15           32.   In the early 1980's the psychiatric hospital industry was

 16    rapidly expanding.        New inpatient facilities were built and new

 17   beds for patients with psychiatric and substance abuse problems

 l8    were   added,   in   response   to a     number   of   industry      conditions:

 19    states began mandating employee mental health benefits; public

 20   awareness of mental health and drug abuse problems increased during

 21    this time, and the stigma attached to obtaining treatment for these

 22   problems      diminished    as    even    respected        celebrities     admitted

 23   suffering from such problems and seeking treatment; and several

 24   states, including California and Texas, allowed laws to lapse which

 25   had     previously    regulated     and    limited      the   building      of   new

 26   psychiatric hospitals to areas where a need for such facilities was

 27   demonstrated.




                                           - 22 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 24 of 92 Page ID #:723



  1         33.   In this permissive climate, between 1980 and 1988, the

  2    number of private psychiatric beds in the United States more than

  3    doubled, from 17,157 to 42,615.        In response to this oversupply

  4    more than 50 treatment facilities closed in 1989 and 1990, and

  5   occupancy rates averaged only 50-60o nationally.             Meanwhile, the

  6    cost of treatment for psychiatric and substance abuse problems

  7   escalated rapidly, and more providers of psychiatric and substance

  8   abuse services competed for patients, particularly patients with

  9   good insurance coverage.        In response, many employers began to

 10   limit benefits for mental illness and chemical dependency.                 The

 11   previously permissive environment thus began to change in the late

 12   1980's as psychiatric benefits provided by insurance companies and

 13   other third-party payors were reduced and more tightly controlled.

 14   By the beginning of 1990 the industry moved towards managed care,

 15   toughening hospital admission standards, shortening hospital stays

 16   and larger discounts for in-patient treatment.          During this time,

 17   insurance companies, health maintenance organizations ("HMO's"),

 18   preferred provider organizations ("PPO's") and other third-party

 19   payors increasingly (1)       limited   the   length   of   inpatient stays

 20   (known as patient "length of stay" or "LOS") covered by insurance;

 21   (2) required pre-authorization and precertification of patients'

 22   hospital stays before a patient's admission to the hospital, and

 23   refused to pay or significantly limited reimbursement for treatment

 24   without such preauthorization and precertification; (3) refused to

 25   pay for treatment of certain types of previously covered disorders;

 26   (4) insisted on greater discounts to CPC's standard daily rates,

 27   including both discounts as a percentage of CPC's standard daily

 28   rates, and low flat daily rates; (5) required greater support in

                                         - 23 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 25 of 92 Page ID #:724



  1    the   patient    medical    records    for     the    charges    billed;    and    (6)

  2    retroactively denied coverage for inpatient stays based on lack of

  3    medical necessity, inadequate documentation in the patient chart

  4    and the like.        Partly as a result of these pressures, in the first

  5    half of fiscal 1990, CPC's patient admissions and patient days were

  6    down in comparison to prior periods.

  7          34.     Beginning by mid-1990 CPC sought to conceal the adverse

  8    impact   of    the    changing    psychiatric        climate    by   granting     more

  9   frequent and larger discounts to patients and third-party payors

 10    and admitting lower-paying and nonpaying patients at its hospitals

 11    to maintain the illusion of high patient volume and growing demand

 12   for psychiatric services.             CPC hospitals also routinely waived

 13   patient out-of-pocket amounts such as co-insurance, co-payments and

 14   deductibles      and    accepted    patients     on     an   "insurance     only"    or

 15   insurance as payment in full basis, in order to get these patients

 16   in the door and inflate CPC's census and patient days figures, key

 17   indicators      which    defendants    knew    were     monitored     by   securities

 18   analysts.       CPC hospitals during the Class Period engaged                      in a

 19   variety of additional improper practices to conceal the adverse

 20   impact    of    the    changing    climate    for     private    psychiatric     care,

 21   including paying bounties for patient referrals and buying patients

 22   from referral agencies and "(800)" numbers, overcharging, billing

 23   for services which were not provided or not medically necessary,

 24   and manipulating and falsifying patient medical records to obtain

 25   and maximize reimbursement and maximize patient length of stay.

 26                     PLANNED ACQUISITION OF CHARTER MEDICAL

 27          35.     At about this same time, one of CPC's main competitors,

 28   Charter Medical, began reporting huge losses and "inaccuracies" in


                                             - 24 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 26 of 92 Page ID #:725



  1    its   accounting for bad         debt,    contractual allowances           and    other

  2    expenses, and the market price of its stock plummeted.                   In mid-1990

  3    defendants decided to try to acquire Charter Medical in order to

  4    provide     CPC with   a     vehicle    to expand      its operations         into    the

  5    Northeastern       United    States,    where    the   Company      entirely     lacked

  6    facilities.        However, Charter Medical was more than twice CPC's

  7    size, both in terms of the number of its hospitals and revenues,

  8    and in order to complete such an ambitious acquisition, defendants

  9    needed to increase and/or maintain CPC's stock price to make CPC

 10    stock feasible consideration in lieu of cash.                     Moreover, in order .

 11   for    any   such    equity    exchange        offer   to   have    credibility       with '

 12    Charter's creditors, as well as CPC's lender, investment banks and '

 13    securities analysts, CPC needed to distinguish and distance itself ~

 14   from Charter's well-publicized financial difficulties, including

 15    Charter's huge multiple write-offs of patient accounts receivable

 16    during 1990.       Thus, defendants repeatedly told the market that CPC

 17    was different from its competitors, that it had a strong strategic

 18   position as the low-cost, high margin provider and that it would

 19   actually benefit from the increasingly mode competitive market for

 20   psychiatric services and the trend toward managed care.                        In order

 21   to prove it was different from the rest of the industry, CPC sought

 22   to assure the market that it could continue to report 15o earnings

 23   growth while successfully managing its accounts receivable.

 24          FALSE AND MISLEADING STATEMENTS DURING THE CLASS PERIOD

 25          36.    On    September    4,     1990    Baryon's    published     an    article

 26   featuring CPC's record of "84 straight quarters of year-to-year

 27   gains, yearly rises of 150 or more without a break for two decades

 28   running, 20o-plus returns on equity and a clinically clean balance

                                               - 25 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 27 of 92 Page ID #:726



  1     sheet."       The article noted that CPC had managed to achieve such

  2     growth "in an increasingly hostile health-care environment."                            The

  3     article included an interview with CPC chairman, president and co-

  4     founder, defendant J. Conte, who dismissed the suggestion that CPC

  5 '   could not continue its earnings growth record.                    The article states:

  6                   Mr. Conte is unruffled by increasing pressures to

  7             reduce the costs of psychiatric care.                He points out that

  8             Community boasts rates that are typically 25 o to 330 less

  9             than those     of its rivals,          a reflection of its lower

 10             costs, which, in turn, he credits to operating efficiency

 11             and financial strength.             Nor is he perturbed by the rise

 12             of managed-care companies that set up networks of mental-

 13             health treatment centers and clinics and strive to wrest

 14             discounts from hospitals for their corporate clients.

 15             Mr. Conte confided to Ed [Wyatt, who interviewed him for

 16             the article] that Community Psychiatric will get a piece

 17             of the IBM [managed care] contract noted above and its

 18             lower charges are likely to bring in an increasing volume

 19             of such business.

 20     To    reinforce      his    point,     J.   Conte    "unhesitatingly      offered       the

 21     prediction" that CPC would earn $1.80 per share in fiscal 1990 and

 22     $2.10 per share in fiscal 1991.                 These statements were false and

 23     misleading in failing to disclose the material adverse facts set

 24     forth    in   ¶85.         Following    publication     of    these     1990    and    1991

 25     earnings forecasts, defendant R. Conte sold 20,793 shares of CPC

 26     stock in the open market at $26 per share for proceeds of $540,618

 27     and   defendant      Shook     sold    22,540    shares      at   $26   per    share   for t

 28     proceeds of $586,040.

                                                    - 26 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 28 of 92 Page ID #:727



  1          37.    On September 27, 1990 defendants caused CPC to issue a

  2    press release announcing the Company's operating results for the

  3    third quarter of fiscal 1990, ended August 31, 1990.                The Company

  4    reported revenues of $94.8 million, net income of $19.7 million or

  5    50.43 per share, which represented substantial increases in both

  6    revenues and earnings over the prior year's period.                  The press

  7    release stated:

  8                 Community   Psychiatric     Centers       today   announced

  9         earnings per share from continuing operations (exclusive

 10         of the spun-off VIVRA businesses) for the third quarter

 11         ended Aug. 31, 1990 were $0.43 compared with $0.37 for

 12         the prior year, a 16 percent increase.              This marks the

 13         85th    consecutive quarter in        which   CMY   has   posted   a

 14         positive     earnings   increase.         Total     revenues    from

 15         continuing     operations    for    the   third     quarter     were

 16         $94, 858,000 compared with X80, 278,000 for the prior year,

 17         a 18 percent increase.        Net earnings from continuing

 18         operations and average shares outstanding for the third

 19         quarter were $19,737,000; and 46,360,000; respectively,

 20         compared with $16,926,000; and 46,278,000 for the prior

 21         year.           Community Psychiatric Centers continues to

 22         estimate earnings per share of $1.80 for the fiscal year

 23         ending Nov. 30, 1990.

 24   These financial results were later repeated in the quarterly report

 25   on Form 10-Q for the quarter ended August 31, 1990, filed with the

 26   SEC on October 16, 1990 (¶41).

 27         38.    CPC's third quarter 1990 financial results, as reported

 28   in the September 27, 1990 press release, were false, materially

                                         - 27 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 29 of 92 Page ID #:728



  1     overstated,       and    in    violation     of       Generally    Accepted     Accounting

  2     Principles ("GAAP") , because, among other things, CPC improperly

  3     recognized revenue on services for which the patient or third-party

  4     payor did not have an obligation to pay and/or did not have an

  5     obligation to pay at the amounts recorded on CPC's books, i.e., CPC

  6     materially understated its reserves for contractual allowances and

  7     failed to take proper charges for known administrative allowances.

  8 ,   Furthermore, CPC failed to record timely and adequate reserves for

  9     uncollectible and doubtful accounts receivable.                            At August 31,

 10     1990,   CPC understated           its   reserves        and   thereby overstated       its

 11     earnings before taxes by at least $10 million.                      Defendants engaged

 12     in a scheme throughout the Class Period to understate CPC's reserve

 13     for   bad     debts     by    failing   to     record     any     reserve   on    accounts

 14     receivable less that 120 days old.                     This practice was a violation

 15     of    GAAP.       GAAP       requires   that      a    reserve     be   established    for

 16     uncollectible receivables "even though the particular receivables

 17     that are uncollectible may not be identifiable."                        (FASB No. 5 ¶¶22-

 18     23)     Since it was inherent in CPC's receivables that not all

 19     receivables will be collectible, CPC was required under GA.AP to

 20     establish an adequate reserve for potential uncollectible amounts.

 21     Moreover, CPC improperly recognized revenue by (1) reporting as

 22     revenue amounts which CPC had agreed with the patient that it would

 23     not collect; (2) fraudulently manipulating patient medical records

 24     and "charting to coverage" to obtain and maximize reimbursement;

 25     (3) billing with inadequate documentation and supporting records,

 26     billing     for    services       rendered        to    patients    with    a    falsified

 27     diagnosis and billing for services which were not provided or not

 28     medically necessary; and (4) failing to have adequate controls in

                                                 - 28 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 30 of 92 Page ID #:729



  1    its business offices to control patient billing and collection.

  2    Additionally, CPC manipulated its financial results by "spreading"

  3    known adjustments for bad debts over future periods instead of

  4    recording the adjustment in full when it was known to defendants.

  5    This    practice     is    exemplified       by   a     memorandum       from     a    hospital

  6    administrator to the corporate controller which states, "I would

  7    like to see the difference of $278,436.38 of old bad debt which

  8    needs to come off the books taken over the next ten months of

  9    financial statements                 but I would like to request that we take

 10    more in the months with high revenue and cut back in months of

 11    lower revenue."

 12           39.   CPC's      receivables         included      millions        of    dollars        of

 13    accounts which should have been written-off or fully reserved for

 14    at August 31, 1990.           CPC was composed of 49 free-standing hospitals

 15    at August 31, 1990, each of which maintained its own individual

 16    receivables and patient billing information.                        The following are a

 17   few     examples    of     hundreds    of    individual accounts             for       which   CPC

 18   failed to record adequate and timely reserves:

 19                 a.     CPC's patient had only $2,000 remaining of his/her

 20   lifetime maximum insurance benefits as of patient's admission in

 21    March 1990, and no patient payments were received through August

 22   1990.      Patient       did    not   respond      to    any   of    CPC's      requests       for

 23   payment.      However, it was not until November 1991 that his/her

 24    noncovered charges of more than $23,000 were written off.

 25                 b.     CPC's patient was unable to pay and CPC had waived

 26   the patient co-pay amount.                  Insurance coverage was denied.                     The

 27   patient's     chart        indicates    that       CPC    knew      the   patient        had    no

 28   insurance coverage before the patient was discharged in August

                                                  - 29 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 31 of 92 Page ID #:730



  1      1990, yet it was not until April and June 1991 that CPC recorded

  2 'i   over $37,000 of administrative allowances.

  3                   c.      CPC's patient, discharged in March 1990, was unable

  4      to pay and insurance coverage was denied.                However, CPC did not

  5      write off the uncollectible receivable balance of approximately

  6      $31,000 until July 1991.           CPC's files note that CPC wanted to

  7      discharge the patient as soon as possible "as I'm sure she cannot

  8      self pay if it should come to that."

  9                   d.      CPC's patient was discharged in August 1989 and as

 10      of July 1990 CPC could not locate the patient for collection, yet

 11      CPC did not write off this known uncollectible receivable of more

 12      than $19,000 until November 1991.

 13                   e.      CPC's   patient   was   discharged    in   June   1990,   had

 14      charges in excess of $17,000, insurance coverage was denied and CPC

 15      had waived the patient's co-pay requirement.              CPC initially wrote

 16      off the account in April 1991, then reversed this write-off as of

 17      the    May 1991 financial statement,            and   finally rewrote-off      the

 18      uncollectible receivable in November 1991.

 19             40.   The third quarter 1990 financial results reported by CPC

 20      on September 27, 1990, were viewed positively by analysts following

21       CPC's stock, who issued favorable, widely-disseminated reports on

 22      CPC stock.        For example:

 23                   a.      on September 27, 1990 Wertheim Schroder & Co., Inc.

 24      issued a research report recommending purchase of CPC stock, citing

 25      the just reported increase in admissions and revenues per patient

 26      day;

27 I                  b.      on September 28, 1990 The First Boston Corporation

         issued a research report recommending purchase of CPC stock, citing

                                                - 30 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 32 of 92 Page ID #:731



  1    the "steady improvement in revenue, profit and patient day growth

  2    trends" and "excellent earnings growth outlook" and forecasting

  3    $2.10 per share earnings for fiscal 1991;

  4                c.    on September 28, 1990 Oppenheimer & Co., issued a

  5    favorable research report which stated:

  6         We    project    a   robust   November    quarter,    with   earnings

  7         rising as much as 22o to $0.44 per share from $0.36.                We

  8         are maintaining our full-year estimate at X1.80 per share

  9         vs. $1.56 and expect earnings of $2.10 next year;                             i

 10                d.    on October 4, 1990 Salomon Brothers, Inc. issued a

 11    research report recommending purchase of CPC stock, citing the

 12    Company's improved third quarter trends:

 13                Community Psychiatric Centers recorded third-quarter

 14         earnings per share of $.43, compared with the $.37 posted

 15         a year ago and above our $.42 estimate.              More important,

 16         hospital     volume    strengthened.       Same-facility     patient

 17         days, after dropping for the past three quarters, rose

 18         slightly.       Admissions advance by 2.7o as well, more than

 19         offsetting the 2.2% decline in average length of stay.

 20                The   shares    of     Community   Psychiatric     have    been

 21         buffeted by concerns that ebbing crrowth in demand would

 22         impair earnings momentum.         The company's improved third-

 23         period trends have eased these concerns, and we look for

 24         even stronger comparisons in the fourth quarter                      ;

 25         and

 26                e.    on October 16, 1990 Dean Witter Reynolds issued a

 27   favorable report, recommending purchase of CPC stock.                  The report

 28   stated:

                                             - 31 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 33 of 92 Page ID #:732



  1                 We    continue      to     believe      that   CMY      stock   is

  2          undervalued.       We believe that Street earnings estimates

  3          are still too low for 1991.                    We continue to believe

  4          the company will be able to generate 15-17o annual EPS

  5          growth over the next five years.

  6          41.    On October 16, 1990 the Company filed with the SEC its

  7    quarterly report on Form 10-Q for the third fiscal quarter which

  8    reported     the   Company's     results       of    operations,     as   previously

  9   announced on September 27, 1990 and, in addition, reported the

 10    Company's balance sheet as of August 31, 1990.                       The Form 10-Q

 11   report was signed by defendant R. Conte.                CPC's third quarter 1990

 12   financial results and balance sheet as reported in the Form 10-Q

 13   were materially overstated for the reasons set forth in ¶¶38-39.

 14   In   addition,      the   Form    10-Q   contained      an   untrue    statement    of

 15   material fact that the information in the Form 10-Q was fairly

 16   presented.      In fact, it was not fairly presented for the reasons

 17   set forth in ~¶87-89.

 18          42.    On December 10, 1990, a negative article published in

 19   Forbes magazine questioned CPC's ability to continue its 150 or

 20   better earnings-per-share growth record based on the increase in

 21   managed      care-type     business,      and   the    concomitant      increase    in '

 22   pressure on LOS, margins and patient charges.                   The article points

 23   out that in the past CPC has never failed to meet its goal of

 24   annual earnings-per-share growth in the 150-20o range, and states

 25   that   Chairman     J.    Conte   "insists      his   company   can    preserve    its

 26   margins and maintain its earnings-per-share growth."

 27          43.    To further dispel any questions raised by the                   Forbes

      article, defendants caused CPC to issue a press release on December


                                               - 32 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 34 of 92 Page ID #:733



  1    10, 1990, in which CPC announced that hospital admissions and total

  2    patient days had significantly increased in the fourth quarter --

  3    a favorable indicator that CPC would report strong earnings growth

  4    when its financial results for the fiscal year ended November 30,

  5    1990 were reported at the end of January 1991.                   CPC reported that

  6    total patient days increased 13.30 during the fourth quarter and ,

  7    that total admissions in new and established hospitals were up

  8    20.50 and 11.Oo, respectively, for the quarter.                   These statements

  9    were false and       misleading in failing to disclose                 that      CPC was

 10   granting larger discounts and accepting lower and no-pay patients

 11   to   report    increased         census   figures,     while     failing     to    deduct

 12   discounts and allowances at the time of billing as required by

 13   GAAP.    These statements were further false and misleading in the

 14   failure to disclose CPC's material reliance on improper patient

 15   recruitment and accounting and revenue recognition practices as set

 16   forth in X85.

 17         44.     Following the issuance of the December 10, 1990 press

 18   release, senior management of the Company, including defendants J.

 19   Conte    and    R.    Conte,        met   with     analysts      and   other       market

 20   professionals        in    New    York    on   December     10   and   11,   1990     and

 21   reiterated that CPC had just completed a very successful fourth

 22   quarter and fiscal year and reaffirmed that CPC would earn $2.10

 23   per share in fiscal 1991.

 24         45.     Based   on     information       provided     by   CPC   regarding      its

 25   expected    fourth        quarter   results     and   the   favorable    comments      to

 26   analysts in New York, several analysts issued positive reports on

 27   CPC stock.      For example:




                                                - 33 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 35 of 92 Page ID #:734



  1                   a.    on December 10, 1990 Cowen & Co. issued a highly

  2    favorable       report     reiterating             its     "Buy"     recommendation      and

  3    estimating a 20o plus upside in the stock price over the next 12

  4    months.

  5                   b.    on December 12, 1990, Wertheim Schroder & Co., Inc.

  6    issued a research report in which it recommended purchase of CPC

  7    stock, citing the Company's renewed momentum in patient day growth

  8    and    CPC's    launch    of     a   national       account        marketing   program   to

  9    capitalize on the Company's low-cost provider status.

 1Q           46.     Responding to these positive statements, the market price

 11    of CPC stock rose sharply during the week of December 10, 1990 to

 12    close at a 20 week high of $29.375 per share.                        Capitalizing on the

 13    increase in the price of CPC stock which was caused by their false

 14    and misleading statements, on December 13, 1990, defendant R. Conte

 15   sold 76,617 shares of CPC stock for $29.38 per share for gross

 16   proceeds of $2,251,007 and defendant Shook sold 120,141 shares for

 17   $29.38 per share for gross proceeds of $3,529,742.

 18           47.     On January 16, 1991 the Wall Street Journal published a

 19   story commenting on the recent stock sales by certain insiders at

 20    CPC.    The article stated:

 21                   At   the   same       time    that        officials    at    Community

 22           Psychiatric Centers Inc. have been talking u~ their stock

 23           on    Wall   Street,      they       have    been     trimming      their   own         I

 24           holdings     substantially,           filings        with    the    Securities

 25           Exchange Commission show.                                                               ~I

 26

 27           The SEC filings show             that five          Community Psychiatric

 28           insiders, including the chairman and the president, sold
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 36 of 92 Page ID #:735



  1           a total of 454,278 shares valued at almost $13 million in

  2           November and December.             But in mid-December,         company

  3           officials came to New York and made favorable comments

  4           about    the    company's       prospects   to    analysts    and    money

  5           managers.

  6    Responding to the Wall Street Journal article, defendant J. Conte

  7    publicly denied that            the insider sales         were   indicative    of   any

  8   financial problems for CPC.                He represented to the Los Angeles

  9    Times in an article published on January 17, 1991, that the Company

 10    would meet its projections of $70 million in net earnings for the

 11   fiscal year ending November 30, 1990, which would be up 150 over

 12   last year for continuing operations.                 He said, "There is no bad

 13   news we see coming."             This statement was false and misleading when

 14   made in light of defendants' scheme to conceal the material adverse

 15   information about CPC's operations and financial results, and CPC's

 16   material reliance on improper patient recruiting, accounting and

 17   revenue recognition practices, set forth in ¶85, and the fact that

 18   CPC's accounts receivable were riddled with uncollectible amounts.

 19         48.       On January 29, 1991, defendants caused CPC to issue a

 20   press release announcing the Company's operating results for the

 21   fourth quarter and year-ended November 30, 1990, which stated in

 22   part:

 23         Community Psychiatric Centers today announced for the

 24           year    ended     Nov.    30,    1990,   earnings    per     share    from

 25         continuing operations (exclusive of the spun-off VIVRA

 26         businesses) were 51.80 compared with $1.56 for the prior

 27           year,    a   15   percent       increase.        Total    revenues,    net

 28         earnings       and average        shares   outstanding for the          year


                                                - 35 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 37 of 92 Page ID #:736



  1         ended Nov. 30, 1990, were $381,791,000; $83,211,000; and

  2         46,355,000,       compared   with   $330,724;       $71,961,000;    and

  3         46,251,000 for the prior year.              Earnings per share for

  4         the first quarter of 1989 included $0.04 attributable to

  5         a capital gain on the sale of an old hospital physical

  6         plant net of a loss on the sale of a marketable security.

  7         No such net equivalent gain exists for the first quarter

  8         of 1990.      If these unusual items were excluded from 1989

  9         vs. 1990 year to date comparisons, earnings per share

 10         would have been 51.80 for the fiscal 1990 year compared

 11         with 51.52 for the prior year, an 18 percent increase.

 12                 Earnings per share for the fourth quarter ended Nov.

 13         30, 1990 were $0.45 compared with $0.36 for the prior

 14         year,    a   25   percent    increase.       This    marks   the   86th

 15         consecutive quarter in which CMY has posted a positive

 16         earnings increase. Total revenues for the fourth quarter

 17         were $99,610,000 compared with $80,115,000 for the prior

 18         year, a 24 percent increase.              Net earnings and average

 19         shares       outstanding     for    the     fourth    quarter      were

 20         $20,735,000 and 46,366,000 respectively, compared with

 21         $16,450,000 and 46,337,000 for the prior year.

 22   These financial results were later repeated in the report on Form

 23   10-K for the year ended November 30, 1990, filed with the SEC on

 24   February 28, 1991 (¶55), and CPC's 1990 Annual Report (¶54).

 25         49.     CPC's fourth quarter and year-end 1990 financial results

 26   as reported in the January 29, 1991 press release, were false,

 27   materially overstated, and in violation of GAAP in that, among

 28   other reasons, CPC improperly recognized revenue on services for

                                           - 36 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 38 of 92 Page ID #:737



  1    which the patient or third-party payor did not have an obligation

  2    to pay and/or did not have an obligation to pay for at the amounts

  3    they were recorded in CPC's books and records, i.e., CPC materially

  4    understated its reserves for contractual allowances and failed to

  5    take     proper       charges     for     known       administrative      allowances.

  6    Furthermore, CPC failed to record timely and adequate reserves for

  7    uncollectible and doubtful accounts receivable.                     At November 30,

  8    1990,    CPC understated its reserves                 and   thereby overstated     its

  9    earnings before taxes by at least $15 million.                      At November 30,

 10    1990 defendants failed to record any reserve for bad                        debts on

 11    receivables less than 120 days old.                    CPC improperly recognized

 12    revenue by (1) reporting as revenue amounts which CPC had agreed

 13    with    the   patient    that     it    would   not    collect;    (2)   fraudulently

 14   manipulating patient medical records and "charting to coverage" to

 15   obtain and maximize reimbursement; (3) billing with inadequate

 16   documentation and supporting records, billing for services rendered

 17   to patients with a falsified diagnosis and billing for services

 18   which were not provided or medically necessary, and (4) failing to

 19   have adequate controls in its business offices to control patient

 20   billing and collection.            At November 30, 1990, CPC had in excess of

 21   $49 million in receivables in excess of 120 days past due, while

 22   CPC's total reserves on CPC's receivables of approximately $128

 23   million were only $12.5 million.

 24           50.    CPC's    receivables        included      millions    of   dollars   of

 25   accounts which should have been written off or fully reserved for

 26   at November 30, 1990.            The following are a few examples of hundreds

 27   of receivables at November 30, 1990 for which CPC failed to record

 28   adequate and timely write-offs and reserves:

                                                - 37 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 39 of 92 Page ID #:738



  1                a.     CPC's patient had an outstanding self-pay balance in

  2    excess of $27,000 at October 1989.                No payments were received by

  3    CPC through November 1990, more than one year after the patient's

  4    discharge, yet the account was not written off until November 1991.

  5                b.     CPC's   patient,     discharged      in    March   1989,   filed

  6    bankruptcy in October 1990, and had an outstanding balance of more

  7    than $76,000 at November 1990.           Insurance coverage was denied on

  8    the outstanding balance in April 1989.               Yet, the balance was not

  9    written off CPC's books as a bad debt until November 1991.

 10                c.     CPC's patient was discharged in September 1990.              The

 11   patient's financial file notes that there was no insurance coverage )

 12   and that the patient was unable to pay.              Yet CPC did not record any l

 13    write-offs or allowances on this $5,000 receivable until November

 14   1991.

 15                d.     CPC's   patient     was     discharged      in   October   1990,

 16   insurance coverage was denied twice, the patient was unable to pay,

 17   and did not remit any funds under his/her payment plan.                    However,

 18   CPC did not write off the uncollectible receivable of more than

 19   $21,000 until August 1991.

 20                e.     CPC's patient, discharged and known to be unable to

 21   pay   in   November     1990,   and    with   no    insurance    coverage,     had   a

 22   receivable of approximately $14,000 which was not written off as a

 23   bad debt until May 1991.          As part of defendants' second quarter

 24   1991 "reversals" scheme CPC not only rebooked at May 31, 1991 the

 25   $14,000 written off earlier that month, but rebooked an additional

 26   $5,000     that   had   previously been       recorded    as    an   administrative

 27   allowance at December 1990.           Finally in November 1991, CPC re-wrote

 28   off the entire $19,000 patient receivable.

                                             - 38 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 40 of 92 Page ID #:739



  1          51.       The fourth quarter and year-end 1990 financial results

  2     reported by CPC on January 29, 1991, were viewed positively by

  3     analysts       following     CPC's   stock       who    issued   favorable,      widely-

  4     disseminated reports recommending its purchase.                      For example:

  5                    a.    on January 30, 1991, Donaldson, Lufkin & Jenrette

  6     issued a research report recommending purchase of CPC stock, citing

  7     CPC's accelerating momentum of admissions growth,                         CPC's unique

  8     position to take advantage of acquisitions, and general "blue chip"

  9 '   characteristics;

 10                    b.    on January 30, 1991, Wertheim Schroder & Co., Inc.

 11     issued     a   research    report    in       which    it   recommended      purchase    of

 12     stock, citing the Company's rise in total admissions and patient

 13     days and increase in operating margins;

 14                    c.    on February 7, 1991, based on information provided

 15     by   the       defendants,     Cowen      &    Co.     issued    a   research     report

 16     recommending        purchase   of    CPC's      stock,      citing   CPC's    continuing

 17     ability to offset shorter lengths of stay by increasing patient

 18     admissions; and

 19                    d.    on February 12, 1991, Kidder, Peabody & Co., Inc.

 20     issued a research report in which it reaffirmed its "Buy" rating on

 21     CPC stock, citing the Company's positive patient day comparisons

 22     versus earlier periods.

 23          52.       On January 30, 1991 The Los Ancieles Times (Orange County

 24     Edition)       discussed   CPC's     recently         reported   fourth   quarter       and

 25     fiscal 1990 revenues and earnings in a highly positive article

 26     about CPC:

 27                    As the company had forecast several weeks ago, the

 28          fourth-quarter results were especially strong because of

                                                  - 39 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 41 of 92 Page ID #:740



  1          an increase in patient admissions.                    CPC officials said

  2          that efforts to hold down prices are helping the company

  3          compete in an increasingly cost-conscious market.

  4                The gain in hospital admissions marks a turnaround

  5         from   the   first    nine    months       of    the   year,     when    CPC's

  6         admissions     declined .        The      earlier      decline    reflected

  7         pressures from medical insurance companies to control

  8         health-care        costs    by   encouraging           earlier     hospital

  9         discharges, health care analysts said.

 10                Several health care analysts said CPC appears to

 11         have boosted its market share during the fourth quarter

 12         by taking business from other institutions that are not

 13         as financially sound.         They said the company's aggressive

 14         marketing efforts seem to be paying off.

 15

 16                Richard Conte, CPC's president and chief financial

 17         officer, said the company has concentrated on keeping its

 18         prices     among    the    lowest    in    the    industry.        This    is

 19         possible, he said, because CPC has little debt and shuns

 20         expensive television advertising.

 21                "We tend to be $100 to $200 a day cheaper than most

 22         of   the   other    corporate       chains      providing      psychiatric

 23         care,"     Conte said.

 24                Conte acknowledged that CPC hopes to benefit from a

 25         "shakeout" in the psychiatric treatment business.                       "A lot

 26         of companies are in financial trouble and this is the

 27         year some will go out," he predicted.

 28

                                             - 40 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 42 of 92 Page ID #:741



  1                 He added CPC hopes to expand by acquiring some of

  2          the hospitals that come up for sale as a result of other

  3          companies folding.

  4    These statements were false and misleading in that they implied

  5    that CPC's new marketing efforts were working and benefitting the

  6    Company's financial prospects and did not disclose that CPC was

  7    granting     increasingly    large    discounts      and   waiving      patient   co-

  8   payments      and   deductibles   in    order    to   increase     its   census    and

  9   patient days figures without taking the corresponding deduction at

 10    the   same   time    of   billing    in   accordance       with   FAS    5.   These

 11   statements were further misleading in failing to disclose CPC's

 12   material reliance on the improper patient recruiting and accounting

 13   and revenue recognition practices set forth in ¶85.

 14          53.    On February 1, 1991 The San Francisco Chronicle published

 15   an article citing reports in the Canadian press that CPC and other

 16   U.S. hospital operators were illegally recruiting Canadian patients

 17   for drug and alcohol treatment without any physician referral and

 18   without medical       need.    The     article   also quoted       a short-seller

 19   newsletter, as suggesting that "aggressive patient-recruiting" by

 20   CPC may have been responsible for most of the Company's fourth-

 21   quarter earnings gain.         Defendants initiated a public relations

 22   campaign to discredit these charges.             Defendant R. Conte solicited

 23   the assistance of "friendly" analysts to help CPC "tell its story."

 24   Analysts at Cowen & Co. and Donald, Lufkin & Jenrette, for example,

 25   immediately issued "call reports" telling investors to ignore the

 26   story and reiterating their buy recommendations on CPC stock.                      In

 27   a reply published in The San Francisco Chronicle on February 29,

 28   1991, R. Conte stated that CPC was the "good guy" when it came to


                                             - 41 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 43 of 92 Page ID #:742



  1    Canadian treatment, that the Canadian patients were referred by

  2    physicians, and that the Canadian patients represented well below

  3    to of CPC's patients on any given day, thus falsely implying that

  4    if   there   were   any such problem      with    Canadian patients   it   was

  5    immaterial to the Company's financial condition.             These statements

  6    were further false and misleading in failing to disclose CPC's

  7    material reliance on improper patient recruitment practices set

  8    forth in X85.

  9          54.    On or about February 28, 1991 defendants caused CPC to

 10    issue its 1990 Annual Report, which included CPC's false fourth

 11    quarter and year-end 1990 results and a Letter to Shareholders,

 12    signed by defendants J. Conte and R. Conte, which stated:

 13                 1990   was   a   good   year for    Community   Psychiatric

 14          Centers.      Earnings per share from continuing operations

 15          amounted to $1.80, up from $1.56, a 15o gain.            As stated

 16          in prior reports        our goal is earnings per share Growth

 17          of 150 or better each year and each quarter .          The Company

 18          has achieved or exceeded this goal for 21 consecutive

 19          years and 83 out of 86 quarters.            These earnings gains

 20          have occurred while we have consistently maintained a

 21          policy of charging at the community average or less for

 22          superior patient care services in the trade areas in

 23          which we operate psychiatric hospitals.

 24

 25                 Much has been written, rumored or said during the

 26          past twelve months about alleged problems or troubles

 27          facing the U.S. psychiatric industry.            Oftentimes, the

 28          problems of specific companies have been overgeneralized

                                             - 42 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 44 of 92 Page ID #:743



  1         as problems for all companies in our industry, including

  2         Community      Psychiatric         Centers.        In    short,    a    lot    of

  3         confusion and debate has been generated as to whether the

  4         entire psychiatric hospital industry is in trouble or

  5         whether it is just a few companies.

  6                 Our industry is undergoing a "shake-out" period

  7         wherein some of our competitors will fail or be forced to

  8         substantially reorganize for a number of complex reasons

  9         including declinincr utilization, high or uncontrollable

 10         costs, inability to service highly leveraged debt, media

 11         and public backlash against questionable advertising,

 12         changeover in management direction, mercenary payments to

 13         those    who    might        refer    patients      to    them,    and       high

 14         corporate overhead.

 15                 We   believe     CPC    is    uniauely      positioned         to    take

 16         advantage      of     both   its     own   strengths and       the     current

 17         problems of our competitors.                    For over twenty years we

 18         have managed to control our costs of operation while

 19         being able to keep our prices lower than our competitors.

 20         Low     corporate       overhead,          virtually      no   advertising,

 21         extremely      limited        debt    service      and    close    corporate

 22         monitoring of costs in our hospitals have all contributed

 23         to our ability to charge less than others while achieving

 24         higher profit margins.

 25

 26               The     Company        maintains      a    conservative      financial

 27         position       with    adequate       resources      to    carry       out    its

            expansion plans and make significant acquisitions in the

                                                 - 43 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 45 of 92 Page ID #:744



  1             medical services_field if attractive opportunities arise.

  2             The ratio of equity to debt on our balance sheet is the

  3             strongest    in   the    hospital   management      industry.      As

  4             financial conditions of some of our competitors become

  5             further aggravated we expect that the number of acqui-

  6 1           sition potentials may increase.           We are well positioned

  7             to prosper in an increasingly more difficult industry.

  8     The letter concluded:           "1991 promises to be another good year."

  9          55.     The fourth quarter and year-end results and balance sheet

 10     reported in the 1990 Annual Report were materially overstated for

 11     the reasons set forth in ¶¶49-50.            In addition, the Annual Report

 12     contained an untrue statement of material fact that the financial

 13     information in the Annual Report was presented in accordance with

 14     GAAP.     In fact, it was not presented in accordance with GA.AP for

 15     the reasons set forth in ¶¶87-89.                 Moreover, the statements by

 16     defendants R. Conte and J. Conte about CPC's financial performance

 17     in 1990 were false because of the false financial statements,

 18     revenue     recognition     practices,      and    manipulation    of     accounts

 19     receivable,    and    CPC's     reliance    on   improper   patient     recruiting

 20     practices set forth in X85.

 21          56.     On or about February 28, 1991, defendants caused CPC to

 22     file its annual report on Form 10-K with the SEC which reported the

 23     Company's results of operations for the fourth quarter and year-

 24     ended November 30, 1990, as previously announced on January 29,

 25     1991, and, in addition, reported the Company's balance sheet as of

 26     November 30, 1990.         The Form 10-K was signed by defendants J.

 27     Conte, R. Conte, and Smith among others.               The fourth quarter and

 28     year-end 1990 financial results and balance sheet reported in the

                                              - 44 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 46 of 92 Page ID #:745



  1    Form 10-K were materially overstated for the reasons set forth in

  2    ~~49-50.    In addition, the Form 10-K contained an untrue statement

  3    of material fact that the financial information contained in the

  4    Form 10-K was presented in accordance with GAAP.          In fact, it was

  5   not presented in accordance with GA.AP for the reasons set forth in

  6    ¶¶87-89.

  7         57.    On March 11, 1991, defendants caused CPC to issue a press

  8   release     announcing that total patient days in its          psychiatric

  9   hospitals increased 12.2 percent during the first quarter, ended

 10   February 28, 1991.     The press release reported that patient days in

 11   established hospitals (those open more than 12 months) rose by 7.20

 12   and that total admissions and admissions in new and established

 13   hospitals were up 17.20 and 9.60,           respectively, for the first

 14   quarter.     These statements were false and misleading in that they

 15   failed to disclose CPC's material reliance on improper patient

 16   recruitment and accounting and revenue recognition practices as set

 17   forth in ¶85.

 18         58.    In a press release dated March 21, 1991, CPC announced

 19   its   proposal   to   acquire   Charter   Medical   Corporation   for      $1.1

 20   billion in cash and CPC common stock.           The next day, March 22,

 21   1991, Charter Medical announced that it had rejected CPC's offer.

 22   In an article published in the Wall Street Journal on March 25 ,

 23   1991, entitled "Community Psychiatric Says It May Go To Bondholders

 24   in Charter Medical Bid," defendant J. Conte complains about Charter

 25   Medical's refusal to provide sensitive business information to CPC

 26   and is quoted as saying:

 27         Charter "seems to be saying that we want information

            about the company only for competitive reasons," Mr.

                                         - 45 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 47 of 92 Page ID #:746



  1           Conte said.        "I don't see that a company with a 350

  2           profit margin needs to gain any competitive information

  3           from a companv that can't pay its debts."

  4           59.    On March 28, 1991, defendants caused CPC to issue a press

  5    release announcing its results of operations for the first quarter

  6    of   fiscal    1991,     ended    February    28,       1991.     The    press       release

  7    reported that earnings-per-share were $0.46 compared with $0.41 for s

  8    the prior year, a 12o increase, and that earnings-per-share from

  9    operations were $0.44 compared to $0.37 for the prior year, a 190

 10   increase.       Total revenues were $103 million and earnings were $21.1

 11   million, which represented substantial increases in both revenues

 12   and earnings over the prior year's period.                     These financial results

 13    were later repeated in the quarterly report on Form 10-Q for the

 14   quarter ended February 28, 1991 filed with the SEC on April 15,

 15   1991 (~64).

 16          60.     CPC's first quarter 1991 financial results as reported in

 17   the March 28, 1991 press release were false, materially overstated,

 18   and    in     violation    of     GA.AP,   because,       among    other       things,   CPC

 19   improperly recognized revenue on services for which the patient or

 20   third-party payor did not have an obligation to pay and/or did not

 21   have an obligation to pay at the amounts they were recorded in

 22   CPC's    books      and   records,     i.e.,   it        materially     understated      its

 23   reserves      for   contractual allowances               and   failed    to    take   proper

 24   charges for known administrative                allowances.             Furthermore,     CPC

 25   failed to record timely and adequate reserves for uncollectible and

 26   doubtful       accounts     receivable.             At    February       28,    1991,    CPC

 27   understated its reserves and thereby overstated its receivables by

 28   at least $22 million.             At February 28, 1991 defendants failed to

                                                 - 46 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 48 of 92 Page ID #:747



  1    record any reserve for bad debts on receivables less than 120 days

  2    old.   CPC improperly recognized revenue by (1) reporting as revenue

  3    amounts which CPC had agreed with the patient that it would not

  4    collect; (2) fraudulently manipulating patient medical records and

  5   "charting to coverage" to obtain and maximize reimbursement; (3)

  6    billing   with    inadequate     documentation        and    supporting         records,

  7    billing    for    services     rendered    to    patients      with       a    falsified

  8    diagnosis   and    billing for services          which      were    not   provided       or

  9    medically necessary, and (4) failing to have adequate controls in

 10   its business offices to control patient billing and collection.

 11    CPC receivables continued to deteriorate from November 1990 to

 12   February 1991.       However CPC's reserve for uncollectible accounts

 13   remained level at February 28, 1991, as compared with November 30,

 14   1990, even though CPC's receivables had increased by $8 million

 15   during     the    February     quarter.         Many   of    CPC's     hospitals         had

 16   significant receivable problems as follows:

 17                a.     700   of     Horizon        Hospital's      $5.8       million       in

 18   receivables were in excess of 120 days past due.

 19                b.     570   of    Santa     Ana    Hospital's         $5.6   million       in

 20   receivables were in excess of 120 days past due.

 21                c.     650 of Coliseum Medical Center's $3.3 million in

 22   receivables were in excess of 120 days past due.

 23                d.     530   of    Alhambra        Hospital's     $10.6       million       in

 24   receivables were in excess of 120 days past due.

 25                e.     460   of   Laguna    Hills    Hospital's        $4.1       million   in

 26   receivables were in excess of 120 days past due.

 27                f.     340   of   Brea     Canyon    Hospital's        X4.4       million   in

 28   receivables were in excess of 120 days past due.


                                              - 47 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 49 of 92 Page ID #:748



  1           61.    CPC's   receivables   included     millions    of   dollars    of

  2    accounts which should have been written off or fully reserved for

  3    at February 28, 1991.      The following are a few examples of hundreds

  4    of receivables for which CPC failed to record adequate and timely

  5    write-offs and reserves:

  6                  a.    CPC's patient had exhausted the maximum benefit mid-

  7    way through the patient's hospital stay.              At    the time   of   the

  8    patient's discharge in January 1991, the hospital knew that the

  9    patient was unable to pay his/her remaining noncovered receivable

 10    of more than $15,000.      However, it was not until May 1991 that CPC

 11    recorded an administrative allowance, which was then reversed as of

 12    the May 1991 financial statements as part of the defendants' second

 13   quarter 1991        reversal scheme.     This    uncollectible     account   was ~l

 14   finally re-written off as bad debt in October 1991.

 15                  b.   CPC's patient was unemployed when admitted to CPC in

 16   January 1991 and        had an lifetime       maximum insurance benefit of

 17   $7,500.       Upon discharge the patient owed more than $18,000 that was

 18   not written off to bad debt and administrative allowance until

 19   November 1991.

 20                  c.   An indigent patient was admitted to one of CPC's

 21   hospitals in January 1991.       Administrative allowances in excess of

 22   $19,000 were not recorded until May 1991, were then reversed in

 23   June 1991 as part of reversal scheme and were finally re-written

 24   off in July 1991.

 25                  d.   CPC's patient was discharged in September 1990 with

 26   an outstanding self pay balance in excess of $12,000.               Collection

 27   comments in the patient's financial file indicate that the hospital

 28   could    not locate the patient as of January 1991.                Instead of

                                           - 48 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 50 of 92 Page ID #:749



  1    recording   the   write-off   of    the   receivable    at   that   time,    the

  2    hospital was instructed by corporate to spread the write-off over

  3    several months.

  4                e.    CPC's patient was discharged in May 1989 with an

  5    outstanding self pay balance in excess of $14,000.                  Collection

  6    comments in the patient's file indicated that the patient notified

  7    CPC in February 1991 that: "we will not be able to make any more

  8   payments on this account due to the fact that I am taking care of

  9   my invalid brother and had to leave my job."            Yet CPC did not write

 10   off the account to bad debt until November 1991.

 11                f.    CPC's patient's inability to pay was known upon the

 12   patient's discharge in February 1991, as reflected in a letter in

 13   the file, signed by the patient, which stated: "I lost my job when

 14   I was in the hospital and am in dire straits financially.               I need

 15   for you to take what my insurance pays.          I cannot pay the balance.

 16   Dr. Barden will verify."       Yet CPC did not record the write-off of

 17   more than $2,000 to administrative allowance until March and May of

 18   1991.    This account was then reversed per CPC instructions as of

 19   the May 1991 financial statements, and was finally re-written off

 20   in November 1991.

 21         62.    The first quarter 1991 financial results reported by CPC .

 22   on March 28, 1991 were viewed positively by analysts following

 23   CPC's stock, who issued favorable, widely disseminated reports on

 24   CPC's stock, based on information provided by defendants.                     For

 25   example:

 26                a.    on April 1,      1991   Wertheim Schroder     & Co.,      Inc.

 27   issued a report recommending purchase of CPC stock, citing improved ~

 28   utilization trends;

                                           - 49 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 51 of 92 Page ID #:750



  1                b.      on April 1, 1991 Kemper Securities Group issued a

  2      positive report, recommending purchase of CPC stock, and stated:

  3           We continue to rate CMY a long-term buy with a mid-high

  4           teens P/E multiple expected on our estimate of $2.07 for

  5           FY91 and $2.38 for FY92.          Revenue growth should continue

  6           to come from same-store increases in patient days                         .

  7           while operating profit margins should stabilize at the

  8           mid-30'so, the highest in the industry; and

  9 i              c.      on    April    5,   1991   Dillon,     Read    &   Co.    issued   a

 10 'I   research report in which it forecast $2.10 earnings-per-share in

 11      fiscal 1991 and recommended purchase of CPC stock:

 12                General and administrative expenses rose to 24.6

 13           percent of patient revenues from 23.1 percent a year ago,

 14           reflecting        nrincipally     the     expansion    activity         and

 15           bositionina of CMY to develop its managed care division.

 16           CMY is prepared to consider fluid pricing arrangements

 17           with GRAMPUS, HMOs, PPOs, and other discount insurance

 18           mechanisms,       which    involve      negotiating     scaled        rates

 19           equating volume of admissions with price discounting.

 20           Bettina    u~     the     necessary     staffing,     marketing,       and

 21           computer   software        without    the   benefit    of   concurrent

 22           revenues at this early stake of development hampered

 23           margins.   Benefits should evolve in the very near future.

 24          63.   On March 31, 1991 the New York Times published an article

 25      discussing CPC's proposed acquisition of Charter as follows:

 26                Community Psychiatric's reputation was built on such

 27           penny-pinching practices. The company, widely praised on

 28           Wall Street as the psvchiatric-hospital chain with the

                                               - 50 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 52 of 92 Page ID #:751



  1           lowest room charges and the highest profit margins, has

  2           eschewed debt, kept its staffing lean and spent very

  3           little on advertising.          Which is how it has managed to

  4           increase its earnings per share by 15 percent or better

  5           every near since it went public in 1969.                 In its last

  6           fiscal year, it earned $83.2 million on sales of $381.8

  7           million.

  8 '~   Regarding the Charter acquisition, the article quoted defendant J.

  9      Conte as stating:

 10                    "This is not a decision to grow at a faster clip,"

 11           Mr. Conte said last week in an interview                           "This

 12           is   a    strategic    opportunity      to   purchase    Charter       and

 13           correct their operating technique at a reasonable price.

 14           If they were not in financial trouble we would not be

 15           doing this."

 16                    Wall Street has generally applauded the move, which

 17           would triple Community's size, vaulting it from fourth-

 18           ranked to first among psychiatric hospital companies.

 19          Taking      over    Charter's   89    psychiatric      centers    and   12

 20           acute-care        hospitals    would    give    Community       valuable

 21          economy-of-scale savings. It would also enable Community

 22          to offer service contracts to more companies with offices

 23          nationwide. Most of Community's hospitals are located in

 24          the West while Charter, a Macon, Ga., company, operates

 25          mainly in the East.

 26                    "It would be nice for national companies to have

 27          national       coverage,"      said     Mr.   Conte,    whose    company

 28          provides in-and out-patient care.

                                              - 51 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 53 of 92 Page ID #:752



  1

  2                     Still, merging the companies' two cultures will be

  3             a challenge.    The companies could not have more disparate

  4 1           operating styles -- which Mr. Conte says has meant the

  5             difference between sickness and health.

  6

  7             While    Community's    occupancy        rate   is     lower    than     its

  8             rivals, partly because it does not advertise, its profit

  9             margins at some of       its hospitals are              as   high   as    35

 10             percent, about double the competition.

 11                   Rivals    have   claimed     for    years       that   Community's

 12             prices reflect its lower-quality care, but many analysts

 13             disagree.    Mr. Conte responds to the charge by citing the

 14             independent     evaluation    commissions         that       monitor     the          '~

 15             psychiatric hospital industry.            The Joint Commission on

 16             Accreditation of Health Care Organizations, a private,

 17             not-for-profit    entity,    reports       that all 16         Community

 18             hospitals in California pass inspection.

 19     These statements were false and misleading in failing to disclose

 20     CPC's material reliance on improper patient recruiting, accounting

 21     and revenue recognition practices, as set forth in ¶85.                        Moreover,

 22     defendant J. Conte's statement regarding independent evaluations by

 23     JCAHO    of     CPC's   hospitals    was    false       and    misleading        in    that

 24     defendants knew CPC hospitals were routinely out of compliance with

 25     the minimum standards of care required by those organizations as

 26     set forth in ¶85(j).

 27          64.      On April 15, 1991, defendants caused CPC to file its

 28     quarterly report on Form 10-Q with the SEC which reported the

                                              - 52 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 54 of 92 Page ID #:753



  1    Company's results of operations for the first quarter of fiscal

  2    1991, as previously announced on March 28, 1991, and, in addition,

  3    reported the Company's balance sheet as of February 28, 1991.                    The

  4    Form 10-Q was signed by defendant R. Conte.                 CPC's first quarter

  5    1991 financial results and balance sheet reported in the Form 10-Q

  6    were materially overstated for the reasons set forth in ~¶60-61.

  7    In   addition,     the     Form   10-Q   contained    an   untrue    statement    of

  8    material fact that the financial information in the Form 10-Q was

  9    fairly presented, when in fact it was not fairly presented for the

 10    reasons set forth in ¶~87-89.

 11           65.   In an article published in the Wall Street Journal on

 12    April 24, 1991, CPC denied reports by a short seller newsletter .

 13    that   it    was   using    "aggressive     revenue   or   expense    recognition '~

 14   policies" to inflate its financial results.                 The article quotes a

 15   spokeswoman for the Company as stating that while the Company had

 16   receivables equalling 110 days of sales at the end of February

 17   1991, the problem was concentrated in California, and that two

 18   full-time employees had been sent there to work on collection.                    She

 19   also denied that CPC had a problem relating to the recruitment of

 20   Canadian patients, asserting that Canadian patients accounted for

 21   less than la of the patient population of CPC hospitals in fiscal

 22   1990.    These statements were false and/or misleading when made in

 23   that defendants implied that if any such problems existed, they

 24   were extremely limited and immaterial to CPC's financial condition.

 25   These statements were further misleading in failing to disclose

 26   CPC's reliance on improper patient recruiting and accounting and

 27   revenue recognition practices set forth in X85.

 28

                                                - 53 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 55 of 92 Page ID #:754



  1         66.     On May 8, 1991, defendant R. Conte made a presentation

  2    about CPC to financial analysts at the Alex, Brown & Sons, Inc.

  3    Annual Health Care Seminar in which he stated:

  4         Since the Company's creation in 1969. we've had stead

  5         orderly consistent growth of 150 or better in 83 of 87

  6         quarters in 21 out of 21 years.               We expect earnings

  7         crrowth to continue and possibly accelerate in future

  8         years.    Since the founding of the company, revenues have

  9         grown from $2.8 million in 1969 to over $382 million last

 10         year.    During the same period, profits have gone up from

 11         a quarter of a million to in excess of $83 million.

 12         Earnings in 1990 were $1.80 per share, an increase of

 13         15.4a over 1989.      Street estimates for 1991 are in the

 14         range of $2.00 to $2.10 per share, or roughly $90 million

 15         to $95 million.

 16         [I]n our hospitals division we charge less than others

 17         but we earn more than others.        Pre-tax operating margins

 18         have historically been close to 400.           In the past three

 19         or four years, they've been more in [the] 34a, 350, 360

 20         range.     We emphasize, we run open staff hospitals as

 21         opposed to closed staff models.          The doctors prescribe

 22         treatment plans for our patients and it's up to us to

 23         provide the facilities and personnel and the programs to

 24         carry out their orders.      The doctors use our facilities

 25         because they want to, not because they are maid to do so

 26         or because they have to do so.            .

 27         [T]he relevant unit of sale in our business is patient

 28         days.     Utilization data     was    excellent in   the fourth

                                         - 54 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 56 of 92 Page ID #:755



  1         quarter of 1990 and continues into 1991.                   During the

  2         first quarter of 1991, patient days increased 12.20 while

  3         admissions were up 17.20.             I think this needs to be

  4         contrasted off and with some of the other players in the

  5         industry who have been showinc~ negative numbers for the

  6         past couple of years.       We think we're out of what we call

  7         the media backlash in 1990.           A lot of you that have been

  8         following the stock may recall that our patient days went

  9         negative in the first and second quarters of 1990.                  We

 10         got that turned around during the summer where they went

 11         flat.   They were up nicely in the fourth quarter, and as

 12         I said, continue into this year progressing nicelX.

 13         [W]e're   still   looking    at   a    150   or   better   growth   on

 14         earnincts for the year [fiscal 19911 which ought to put us

 15         in the 52.07 range.

 16   These statements were false and misleading when made in failing to

 17   disclose CPC's material reliance on improper patient recruiting and

 18   accounting and     revenue   recognition practices specified in                ¶85.

 19   Defendant R. Conte also failed to disclose that CPC during this

 20   time was increasingly granting larger and                larger discounts and

 21   admitting lower-pay and no-pay patients to keep up the appearance

 22   of volume and demand without taking the corresponding deduction

 23   required by FAS 5.      Further, defendant R. Conte failed to disclose

 24   that doctors at CPC hospitals were given quotas of patients to

 25   refer to CPC hospitals, and that their contracts were terminated if

 26   they were unable to bring in enough patients to meet their quotas.

 27         67.   On July 1, 1991, defendants caused CPC to issue a press

 28   release announcing its financial results for the second quarter of


                                          - 55 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 57 of 92 Page ID #:756



  1    fiscal 1991, ended May 31, 1991.              The Company reported revenues of

  2    $117.7 million and earnings of X26.7 million or $0.58 per share for

  3    the   quarter,         which    represented    substantial         increases       in    both

  4    revenues and earnings over the prior year's period.                          The release

  5    also stated that earnings-per-share from operations increased 170

  6    over the prior year.

  7          68.     CPC's second quarter 1991 reported financial results were

  8   false, materially overstated, and in violation of GAAP, because,

  9    among other things, CPC improperly recognized revenues on services

 10   for    which      the    patient    or   third-party        payor     did    not    have    an

 11   obligation to pay and/or did not have an obligation to pay at the

 12   amounts recorded in CPC's books, i.e., CPC materially understated

 13   its reserves for contractual allowances and failed to take proper .,

 14   charges for known administrative allowances.                          Furthermore,         CPC I

 15   failed to record timely and adequate reserves for uncollectible and

 16   doubtful accounts receivable.               At May 31, 1991, CPC understated its

 17   reserves     and    overstated its          receivables          at least $30      million.

 18   Moreover, at May 31, 1991 defendants failed to record any reserve

 19   for bad debt on receivables less than 120 days old.                         CPC improperly

 20   recognized revenue by (1) reporting as revenue amounts which CPC

 21   had    agreed      with    the    patient    that     it    would    not     collect;      (2)

 22   fraudulently manipulating patient medical records and "charting to

 23   coverage" to obtain and maximize reimbursement; (3) billing with

 24   inadequate        documentation       and    supporting          records,    billing       for

 25   services     rendered       to    patients     with    a    falsified       diagnosis      and

 26   billing      for    services       which     were     not    provided       or     medically

 27   necessary, (4) failing to have adequate controls in its business

      offices      to    control       patient    billing        and    collection,       and    (5)


                                                 - 56 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 58 of 92 Page ID #:757



  1    recording as receivables and as increase to CPC's net revenue,

  2    previously written-off patient receivables.

  3         69.   Defendants     decreased    CPC's    reserve   for     uncollectible

  4    accounts during the second quarter of 1991 to a level which was $1

  5    million lower than the reserve at February 28, 1991.                Yet, CPC's

  6    receivables had increased to $150 million, $13 million higher than

  7    at February 1991, and its receivables in excess of 120 days past

  8    due had increased to more than $52 million.               CPC's reserve for

  9    uncollectible accounts was less than 80 of CPC's total receivables

 10    at May 31, 1991.     CPC thus decreased its reserve for bad debts in

 11    a quarter in which it had "rebooked" some $6 million of previously

 12    written off receivables.

 13         70.   CPC's    receivables      included    millions    of     dollars    of

 14    accounts which should have been written-off or fully reserved at

 15    May 31, 1991.      The following are a few examples of hundreds of

 16   individual accounts for which CPC failed to record adequate and

 17   timely reserves:

 18               a.     CPC's patient, discharged in December 1989, had an

 19   outstanding balance of more than $9,000 which was not written off

 20   until November 1991, although the patient's financial file states:

 21   "4/27/91 unable to collect, unable to get in touch with patient,

 22   father, mother.      All numbers listed out of service or no longer

 23    correct number.    Send to collections.         Unemployed."

 24               b.     CPC's   patient,    discharged    in    January    1989,    was

 25   denied coverage by insurance carrier in December 1989 for exclusion

 26   of benefits under contract.        Patient filed for bankruptcy in May

 27   1991, yet CPC did not write off this uncollectible balance of more

 28   than $39,000 until November 1991.

                                         - 57 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 59 of 92 Page ID #:758



  1                c.     CPC's   patient       was    admitted      in   August   1990    and

  2    discharged in September 1990.        CPC was unable to locate the patient

  3    in October 1990.        The patient had utilized his/her maximum days

  4    benefit, and therefore the insurance carrier denied, in April 1991,

  5    charges    of    more   than   $25,000    for    this   inpatient      stay.       CPC,

  6    however, did not write off this uncollectible balance to bad debt

  7    until November 1991.

  8                d.     CPC's patient, discharged in March 1990, had non-

  9    covered Medicare charges of more than $28,000.                     CPC knew in April

 10    1991 that the patient was on disability and could not pay.                         Yet,

 11    CPC did not write off this uncollectible receivable balance to bad

 12   debt until November 1991.

 13                e.     CPC's patient, discharged in August 1990, was known '

 14   to be unable to pay and his/her insurance denied charges of more

 15   than $12,000 in March 1991.           However, CPC did not write off this

 16   uncollectible receivable balance to bad debt until August 1992.

 17                f.     CPC's patient, discharged in March 1991, was known

 18   to be unable to pay as the patient was in jail as of April 1991,

 19   and his/her insurance denied charges of more than $27,000 in May

 20   1991.      Yet this uncollectible receivable balance was not written

 21   off to bad debt until November 1991.

 22         71.    Despite      CPC's    reliance       on     the    numerous     improper

 23   accounting and       revenue    recognition practices set forth in                  X85,

 24   including deliberately underreserving for doubtful receivables,

 25   maintaining known uncollectible amounts on the books and failing to

 26   reserve for patient accounts until they were more than 120 days

 27   old, it became clear to defendants during the second quarter of

      1991 that CPC would not be able to report 15o earnings growth as
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 60 of 92 Page ID #:759


  1    they had repeatedly forecast.          Thus, in June 1991, senior CPC

  2    management, including the named defendants herein, instructed CPC

  3    hospitals to reverse and reinstate, as if they were collectible

  4    receivables, patient accounts which had already been determined to

  5    be   uncollectible     at    the   hospital     level.        In   a   process

  6    euphemistically referred      to as "dialing for dollars," hospital

  7    business managers were given specific dollar amounts by senior CPC

  8   management, which they were told to reinstate as valid receivables,

  9   out   of   accounts   which   had   previously   been     written-off   by   the

 10   hospital business manager's and administrators.              CPC's employees

 11   were instructed to reverse amounts which had been written off as

 12   administrative allowance, bad debt, and utilization review denials.

 13   CPC employees who expressed concern were told to "do it or else,"

 14   that it was part of the Charter acquisition, that CPC's books had

 15   to look good for that quarter, and that without reversing these

 16   accounts CPC would have a flat quarter and would maybe even lose

 17   money for the first time in its history.         Administrative allowance,

 18   bad debt and/or insurance denial accounts were reversed at at least

 19   29 CPC hospitals, and the total amcunt reversed was approximately

 20   $6.1 million.     The amounts defendants instructed the hospitals to

 21   reverse and thus, effectively write back on the accounting records,

 22   as if they were collectible receivables, are itemized by hospita].

 23   below:

 24         Alhambra Hospital                          $   301,000
            Brea Canyon Hospital                           100,000
 25         Brentwood Hospital                             150,000
            Capital Hospital                               700,000
 26         Cedar Spring Hosp~~.a~                         185,000
            Coliseum Medical Centez~                        50,000
 27         Cypress Point Hospital                         200,000
            Cedar Hills Hospital                            37,000
 28         Fort Lauderdale Hospital                        70,000

                                          - 59 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 61 of 92 Page ID #:760



  1          Great Plains Hospital                        112,000
             Greenbriar Hospital                           50,000
  2          Horizon Hospital                             204,000
             Intermountain                                 30,000
  3          Laguna Hills Hospital                        138,000
             Meadow Wood Hospital                         110,000
  4          Oak Bend Hospital                             70,000
             Old Orchard Hospital                          70,000
  5          Olympus View Hospital                         60,000
             Palm Bay Hospital                             70,000
  6          Parkwood Hospital                            900,000
             Rancho Lindo Hospital                        168,000
  7          Redwoods Hospital                             35,000
             San Juan Capestrano                           70,000
  8          Sand Hill Hospital                           119,000
             Santa Ana Hospital                           156,000
  9          Sierra Vista Hospital                         59,000
             St. Johns River Hospital                      85,000
 10          Walnut Creek Hospital                         63,000
             Westwood Hospital                            299,000
 11
             TOTAL BAD DEBTS AND ADMINISTRATIVE
 12          ALLOWANCES REVERSED IN THE SECOND
             QUARTER:                                   $4,661,000
 13
      An   additional   approximately $1.5      million in   accounts for    which
 14
      insurance companies had denied payment and which had been written
 15
      off were reversed and reinstated on CPC's accounts receivable.             The
 16
      reversal of this $6.1 million in uncollectible accounts allowed CPC
 17
      to report a 12o increase in earnings in the second quarter, and a
 18
      17o increase in earnings from operations, rather than a 6o decrease
 19
      from earnings reported in the second quarter in the prior year.
 20
      These financial statements were thus false and misleading in that
 21
      they   included   (1)    accounts   for   which   inadequate   reserves    for
 22
      doubtful accounts and inadequate write-offs and adjustments for
 23
      uncollectible amounts had been taken; and (2) $6.1 million in
 24
      uncollectible accounts which had been written-off at the hospital
 25
      level as bad debt, administrative allowance and/or insurance denial
 26
      accounts    and   were    improperly      and   fraudulently   reversed     by
 27
      defendants.
 28


                                           .1
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 62 of 92 Page ID #:761



  1         72.    Defendants' falsification of CPC's second quarter 1991

  2    results worked, at least temporarily, to convince the market that

  3    CPC's ongoing operations remained strong.                While the price of CPC

  4    stock declined somewhat following the release of the second quarter

  5    results    because    those    results        were   slightly       below        market

  6    expectations, the market continued to highly value CPC's stock and

  7    analysts continued to issue favorable reports.               Examples of these

  8   analyst reports, based on materially false information provided by

  9   defendants, include the following:

 10                a.   on   July    1,   1991,     Wertheim    Schroder      &    Co.,   Inc.

 11   reaffirmed    its "Buy"    rating      on    CPC stock     based   on       the   second

 12   quarter results, which it characterized as "generally in line with

 13   expectations," stating that:

 14                While we have not yet seen the F2Q balance sheet,

 15         management suclgests that receivables days outstanding

 16         were down 1.5 days to 108.6 days;

 17               b.    on July 2, 1991, Alex, Brown & Sons, Inc. issued a

 18   research report which stated:

 19                We believe Community Psychiatric's 2p results were

 20         probably much better than those of most others in the

 21         industry.    Also   its 150 operating income gain is within

 22         the Company's objectives; and

 23               c.    on July 5, 1991, J. C. Bradford & Co. reaffirmed its

 24   "Accumulate" rating on CPC stock, stating:

 25         Community Psychiatric indicated that the second quarter's

 26         operating    margins     might        have   been   higher     had      top

 27         management not been so focused on its proposal to acquire

            Charter Medical.               We think that the stock market


                                            - 61 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 63 of 92 Page ID #:762



  1          has overreacted to Community Psychiatric's second quarter

  2          results and consider the stock to be undervalued with or

  3          without the Charter acquisition.

  4          73.    On July 8, 1991, defendants caused CPC to issue a press

  5    release which was intended to halt a slide in the price of CPC

  6    stock that day.          The release stated:

  7          We are unable to determine and are unaware of any reason

  8         for today's activity in Community Psychiatric Centers

  9         stock.        We continue to estimate Earnings Per Share of

 10         $2.07 for fiscal 1991 which would make 1991 our 22nd

 11         consecutive wear of 150 or better earnings per share

 12         Growth.

 13    These statements were false and misleading,. among other reasons,

 14   for failing to disclose that the results CPC had just reported for 'I

 15    the second quarter were falsely inflated by the reinstatement of

 16    worthless receivables as described above, and because CPC's ability

 17    to continue to report growth in earnings could only be achieved by

 18   failing      to    take   timely   write-offs   of   accounts   receivable      and

 19   establishing adequate reserves for allowances and bad debt.

 20         74.     On July 10, 1991, Dillon, Read & Co. issued a research

 21   report in which it recommended purchase of CPC stock, citing the

 22    Company's 88 consecutive quarterly earnings-per-share increases,

 23   and the second quarter's 15.70 increase in total admissions.                    The

 24   report also stated:

 25         The     perceived      threat   of   receivables   getting     out   of

 26         control seems unrealistic.            We believe that management

 27         has been devoting its energies to developing negotiated

 28         rate        business    (per-diem    rates,    case   rates,    other

                                             - 62 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 64 of 92 Page ID #:763



  1         contracting     rates)      with    the      various    third-party

  2         administrators.        As    a     result,     days    in     accounts

  3         receivables climbed steadily to a blended average of 114

  4         in fiscal 1990 after holding a 96-day average for the

  5         four   preceding   years.        Management    has    since   offered

  6         incentives to appropriate staff members on a facility-by-

  7         facility basis and has been monitoring closely those

  8         hospitals with particularly high receivables.                 Days in

  9         accounts receivable of 110 in the February quarter dipped

 10         to 108.6 in the May 1991 quarter, in part as a result of

 11         the early effects of control incentives.

 12         75.    On July 12, 1991, defendants           caused    CPC to file its

 13   quarterly report on Form 10-Q with the SEC which reported the

 14   Company's results of operations for the second quarter of 1991, as

 15   previously announced on July 1, 1991, and, in addition, reported

 16   the Company's balance sheet as of May 31, 1991.              The Form 10-Q was

 17   signed by defendant R. Conte.          CPC's second quarter 1991 financial

 18   results and balance sheet reported in the Form 10-Q were materially

 19   overstated for the reasons set forth in ¶¶68-71.              In addition, the

 20   Form 10-Q contained an untrue statement of material fact that the

 21   financial information in the Form 10-Q was fairly presented.                    In

 22   fact, it was not fairly presented for the reasons set forth in

 23   ¶~87-89.

 24         76.    On August 9, 1991 CPC shares came under selling pressure

 25   after an analyst at Cowen & Co. reported that CPC management had

 26   indicated to her that trends in the quarter were below expectations

 27   and that, as .a result, she was slightly reducing her 50 cents a

 28   share earnings estimate for the third quarter to 48 cents.                     The


                                          - 63 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 65 of 92 Page ID #:764



  1    Cowen   analyst   said     that,   based   on   information     provided    by    CPC

  2    management,    she   was    revising   her      $2.07   per   share    fiscal    1991

  3    estimate    to a range     of $2.04 to $2.07 per share,               or growth   of

  4    between 13o and 150 over fiscal 1990's $1.80 per share.

  5          77.   In the next week analysts at Sanford Bernstein & Co.,

  6    Wertheim Schroder & Co., First Boston, and Dillon, Read & Co. also

  7    reduced fiscal year 1991 earnings-per-share estimates to the range

  8    of $2.05 to $2.00.         Wertheim Schroder & Co. issued a report on

  9    August 13, 1991 which stated "we do not consider these revisions as

 10    significant" and continued to recommend the stock.                Dillon, Read &

 11    Co. issued a report on August 21, 1991 which reduced fiscal 1991

 12   earnings     estimates      from    $2.05   to    $2.00   per    share    based    on

 13    managements indications that its ~2 . 07 projection could prove to be

 14   a tough assignment, continued to rate CPC stock "Buy."

 15                                 THE SCHEME UNRAVELS

 16         78.    Finally, on September 27, 1991,              CPC suddenly revealed

 17   that its earnings for the third quarter, ended August 31, 1991,

 18   would be down some 98o from the Companv's recent forecasts and that

 19   the Company had taken a $23 million charge                 or 50.32 per share,

 20   against earnings for the quarter to cover bad debts.                     In a press

 21   release that day, CPC said that earnings for the third quarter

 22   ended August 31, 1991 would be only $0.01 compared to $0.43 in the

 23   prior year period.        The operating income of $0.33 per share (before

 24   the $0.32 charge) was also significantly below the prior year's

 25   period and market expectations.             The Company disclosed that total

 26   revenues were $90.3 million, down from $94.9 million in the year-

 27   earlier period, and that total patient days and revenue per patient




                                            - 64 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 66 of 92 Page ID #:765



  1    day declined versus the third quarter of fiscal 1990.                        Regarding

  2    the $23 million charge for bad debts, the release stated:

  3                 The non-recurring charge comprises a $13 million

  4           general reserve for accounts receivable and $3 million

  5           for receivables related to a domestic facility which was

  6           closed at the end of the third quarter.             In addition, $7

  7           million     of   the    receivables      being   reserved       for    are

  8           attributable to late payments by the Canadian government

  9           for care     already rendered to patients.               While    it is

 10           anticipated that legal action will enforce payment, the

 11           company is reserving for these receivables because of the

 12           excessive amount of time they have been outstanding.

 13   The Company also disclosed that it was engaging in an "ongoing

 14   review and conversion of its financial and accounting systems to

 15   enable it to respond in a more timely and effective manner to the

 16   ever increasing complexities of today's reimbursement environment ,

 17   and the informational needs of management."

 18           79.   Reacting     to   the   September    27,   1991    announcement,        the

 19   market price of CPC common stock plunged 27o that day (from $23.75

 20   to $17.25) on trading volume of 51.8 million shares -- the most

 21   actively traded stock on the New York Stock Exchange.                         While the

 22   price    of   CPC declined      sharply following the           September 27,        1991

 23   announcement, the true adverse facts concerning CPC were not fully

 24   disclosed     and    the   market     price   of   CPC   stock    continued      to   be

 25   artificially inflated until at least after the November 4, 1991

 26   announcement described below.            Despite the huge charge taken in the

 27   third quarter, the September 27, 1991 press release was false in

 28   creating      the   misleading        impression   that    CPC    had    established


                                              - 65 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 67 of 92 Page ID #:766



  1    adequate      reserves to      cover anticipated       losses in        its      accounts

  2    receivable.        The press release was also false in creating the

  3    misleading impression that $3 million was added to the general

  4    reserve for accounts receivable because a hospital was closed in

  5    that quarter.          In fact, the accounts receivable at the closed

  6   facility, Horizon Hospital, were determined to be "out of control"

  7   long    before      the   third      quarter    and   most,   if   not     all,      those

  8   receivables should have been written-off in fiscal 1990.

  9          80.     Although not publicly disclosed until November 4, 1991,

 10   in late September 1991, following the September 27, 1991 press

 11   release, the Company engaged Ernst & Young ("E&Y"), the Company's

 12   auditor,       to     perform    a    "special    review"     of     CPC's        accounts

 13   receivable, purportedly in order to evaluate the adequacy of the

 14   allowance for uncollectible accounts at August 31, 1991.                            During

 15   the    course    of    this    review,   which    included    only    15     of     the   49

 16   hospitals and took place after CPC had already taken a $23 million

 17   charge    in    the    third    quarter,   E&Y     found   significant         remaining

 18   uncollectible patient accounts on CPC's books.                     For example, E&Y

 19   found accounts which contained large uncollectible amounts such as:

 20   (1)    accounts       which    contained   or     entirely    consisted        of    large

 21   administrative or contractual allowance amounts which had not been

 22   adjusted; (2) extremely old accounts, with patient discharge dates

 23   from 1989 and 1988 or older, where insurance had paid all the

 24   approved amount, the patient was unable to pay, and no payment

 25   activity had occurred; (3) large account balances where the stay

 26   was not authorized, the patient was not covered by insurance at all ,

 27   or lifetime maximum benefits had been exhausted; (4) accounts which

 28   were previously written-off as uncollectible and then reinstated in

                                               - 66 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 68 of 92 Page ID #:767



  1    the   second      quarter       1991;    (5)     accounts      where      no    activity     had

  2    occurred since mid-1989 or earlier; (6) millions of dollars in old

  3    uncollectible accounts where no effort to collect payment had been

  4    made, which were not written-off based on                          CPC "procedure" which

  5    mandates     that       collection       letters       be   sent      before     writing     off

  6    accounts no matter their age; (7) accounts where no payment had

  7   been    received      and    the     patient's      file     had       been     lost;   and   (8)

  8   accounts where bills for services rendered were submitted after '

  9   applicable billing deadlines, meaning the bills                               would never be

 10   paid.   E&Y estimated the allowance for CPC's uncollectible accounts

 11   to be between $45 million and $52 million.                      Based on the results of

 12   this    review     CPC     and    E&Y    concluded       that     an    additional       general

 13   reserve      of    $14     million       was    required     to     provide       an    adequate

 14   allowance for bad debt.

 15          81.    On November 4, 1991, CPC announced                          an additional $14

 16   million charge against earnings in the fourth quarter to cover

 17   additional anticipated losses in accounts receivable.                              In order to

 18   conceal the true nature of CPC's accounts receivable problem and

 19   the fact that the significant amount of the bad debt had been on

 20   the Company's books for many quarters, the press release issued on

 21   November 4, 1991 falsely represented that the increase in accounts

 22   receivable had occurred in the third quarter.                          The release stated:

 23                 As a result of the increase in accounts receivable

 24          at    the     end    of     the    third     quarter         the    company      in

 25          conjunction with its independent auditors, Ernst & Young,

 26          conducted a detailed review of accounts receivable during

 27          the month of October.               This review disclosed that the

 28          significant increase in admissions (16 percent) during

                                                     - 67 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 69 of 92 Page ID #:768



  1         the first two quarters coupled with increased volume and

  2         complexity of managed care contracts overburdened the

  3          hospitals' patient business operations resulting in a

  4         slowdown       in   billing     and    collection        activity.      This

  5         slowdown was responsible for the deterioration in the

  6         aging    and    increase        in    days   of   revenue    in     accounts

  7         receivable at Aug. 31, 1991.                 Based upon the results of

  8         this review, the company and Ernst & Young have concluded

  9         that an additional reserve of $14 million is sufficient

 10         to    provide       for   all    anticipated      losses     in    accounts

 11         receivable      at Sept.        30,    1991.      This    amount    will   be

 12         reflected in the company's fourth quarter results.

 13   The November 4, 1991 press release was itself false to the extent

 14   it attributed the increase in accounts receivable to factors which

 15    had occurred in the third quarter.

 16         82.    In the November 4, 1991 press release the Company also

 17   disclosed     that total patient days continued to decline in the

 18   fourth quarter of fiscal 1991, citing further declines in patient

 19   census, admissions and average length of stay.                      The release also

 20   acknowledged that the Company had tabled its acquisition plans and

 21   was   taking    steps      to   remedy       impaired    internal        financial    and

 22   accounting controls and inadequate management information systems,

 23   including establishing an internal audit department, a national

 24   accounts receivable department, and the purchase of a new computer

 25   system for billing and collections.

 26         83.    Following the November 4, 1991 announcement the price of

 27   CPC stock declined to $12.50 per share, its lowest price since

 28
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 70 of 92 Page ID #:769



  1     1984, from a high during the Class Period of $40 per share on April

  2     17, 1991.

  3             84.    On February 3, 1992, CPC announced that it had suffered

  4     a net loss of S3 , 003 , 000 for the fourth quarter, or S .06 per share

  5     the first in its history, compared to fourth quarter earnings-per-

  6     share of $.045 in the year-ago period.              CPC reported that earnings-

  7     per-share for the fiscal year 1991 were $.98, compared with $2.10

  8     to $2.07 per share as projected by defendants and $1.80 per share

  9     reported for fiscal 1990.

 10                   NON-DISCLOSURE OF MATERIAL ADVERSE INFORMATION

 11             85.    The foregoing positive statements in the section entitled

 12     "False and Misleading Statements," about CPC's financial results

 13     and condition and its future business prospects were materially

 14     false and misleading when issued in that they failed to disclose

 15     the following adverse facts which then existed and disclosure of

 16     which was necessary to make the statements not misleading:

 17                    a.   that CPC's third and fourth quarter 1990, year-end

 18     1990,    and    first,     second   and    third    quarter     1991    results    of

 19     operations were materially overstated in violation of GAAP due to

 20     CPC's improper recognition of revenue for services which neither

 21     the patient nor third-payor payors were obligated to pay, failure

 22     to record adequate reserves for contractual and administrative

 23     allowances, failure to record timely and adequate reserves for

 24 I   uncollectible       and    doubtful   accounts       receivable,       practice    of

 25     spreading known adjustments for bad                debts   over future      periods

 26     instead of recording the adjustment in full when known;

 27                    b.   that    CPC   improperly       recognized    revenue    by    (1)

 28     reporting amounts which CPC had agreed with the patient that it

                                                  .•
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 71 of 92 Page ID #:770



  1    would   not collect; (2) falsifying patient                 medical   records and

  2   "charting        to   coverage"    to    improperly     obtain      and    maximize

  3    reimbursement from third-parties; and               (3) billing for services

  4    which    were    not    documented,     not     provided,    or   not    medically

  5    necessary;

  6                c.       that CPC's accounts receivable were out of control

  7    and grossly underreserved in that CPC failed to write-off or fully

  8    reserve for (1) accounts which contained or entirely consisted of

  9   large administrative or contractual allowance amounts which had not

 10    been adjusted, (2) extremely old accounts, with patient discharge

 11    dates from 1989 and 1988 or older, where insurance had paid all of

 12    the approved amount, the patient was unable to pay, and no payment

 13    activity had occurred, (3) large account balances where the stay

 14    was not authorized, the patient was not covered by insurance at all

 15   or lifetime maximum benefits had been exhausted, (4) accounts which

 16    were previously written-off as uncollectible and then reinstated,

 17   (5)    accounts where      no activity had occurred            since   mid-1989 or

 18   earlier, (6) old uncollectible accounts where no effort to collect

 19   payment had been made, (7) accounts where no payment had been

 20   received and the patient's file had been lost, and (8) accounts

 21   where bills for services rendered were submitted after applicable

 22   billing deadlines, meaning the bills would never be paid;

 23                d.       that CPC's internal financial controls were weak and

 24   deficient with respect to patient billing and collection, CPC's

 25   data     processing     system,   created      in   1972,    was   antiquated    and

 26   inadequate,       materially      impairing      the   Company's       ability   to

 27   accurately and timely bill and collect for services, leading to

 28   accumulation of large amounts of uncollectible accounts receivable,

                                              - 70 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 72 of 92 Page ID #:771



  1 ~   which   would have a material adverse impact on CPC's financial

  2 ~   results;

  3                  e.    that CPC's results for the third and fourth quarters

  4     of 1990 and the first and second quarters of 1991 did not reflect

  5     real earnings growth as claimed, but rather reflected improper

  6     revenue     recognition,     "spreading"      of    bad     debt   write-offs     and

  7     adjustments, and failure to record adequate reserves for doubtful

  8     and uncollectible accounts;

  9                  f.    that    CPC's    historical           success     and   purported

 10     prospects for continued financial growth were dependent on its

 11     ability to continue to obtain patients and their health insurance )

 12     benefits    through   illegal and     unconscionable          business     practices

 13     including    the   payment    of   bounties        for    referral    of   patients,

 14     (including patients from Canada) , manipulation and falsification of

 15     patient medical charts including falsification of patient diagnoses

 16     and patient treatment records, over-billing, double-billing and

 17     billing for services not provided or not medically necessary;

 18                  g.    that   CPC's    efforts    to     get    census    at   any   cost

 19     included the routine waiver of patient co-pay and co-insurance

 20     amounts, considered a fraudulent practice by third party payors and

 21     insurance companies which led to reduced reimbursement by them.

 22     This is the case because the patient co-payment is generally based

 23     on a percentage of the gross standard daily charge, and is meant to

 24     reduce insurance fraud by requiring that the patient pay part of

 25     the bill.    When a hospital would routinely grant a 20o discount to

 26     its standard daily charge by waiving a patient co-payment, third

 27     party payors would begin to take the position that the gross charge

 28     minus the routine 20o discount was the true standard daily rate and

                                             - 71 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 73 of 92 Page ID #:772



  1    would only pay for example, 800 of that amount.                   Moreover, during

  2    the Class Period it was illegal under certain benefit plans to

  3    waive the co-insurance, deductible or co-payment portion of the

  4    charges without making reasonable attempts to collect the money

  5   from the patient.           For example, Medicare, GRAMPUS and OHIP all

  6    prohibited the routine waiving of patient deductibles, and required

  7    demonstrations      of     medical       indigency     by     paystubs,    financial

  8    worksheets and the like.              Moreover, in 1990 Florida passed a law

  9    requiring hospitals to disclose to the insurance company when a

 10   deductible, co-insurance or co-payment amount was being waived.

 11   Defendants were aware during the Class Period that a number of CPC

 12    hospitals were in particular violation of these laws;

 13               h.     that     CPC paid      referral fees        in order     to    obtain '

 14    patients for a number of its hospitals including fees paid to

 15   "(800)" numbers and referral services.                 These fees varied and were

 16   sometimes as high as $1500 to $2500 per patient, particularly for

 17   patients with good insurance such as that provided by the Canadian

 18   government, and were often contingent on the patient remaining in

 19   CPC   hospitals     for     at    least    a   week.     These    fees     were    often

 20   misleadingly described as fees for "aftercare" services,                           which

 21   would purportedly involve continued treatment of the patient at a

 22   less intense level of care to assist in the patient's transition

 23   back to their community from the hospital.                     But the firms which

 24   purportedly      provided        the   "aftercare"      were    nothing    more     than

 25   storefront       referral    operations        with    no    therapists     or     other

 26   capability of providing any such transitional assistance.                          As an

 27    additional example, certain CPC hospitals provided sexual offender

 28   programs for persons convicted of child molestation and similar

                                                - 72 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 74 of 92 Page ID #:773



  1     crimes.      Plainly, patients locked in prison are unable to attend

  2     such aftercare sessions.              Other ways CPC sought to disguise the

  3     payment of referral fees included setting quotas for doctors and

  4     terminating the doctor's contract with the hospital if the doctor

  5     failed to bring in enough patients, and by labeling these payments

  6     as "program director fees;"

  7                    i.     that CPC's admissions growth in the third and fourth

  8     quarters of fiscal 1990 and the first and second quarters of fiscal

  9 1   1991    were     in   fact    due   to   CPC's    granting      steeper   and    larger

 10     discounts to patients and third-party payors and admitting lower-

 11     pay    and     no-pay    patients,        without    taking      the   corresponding

 12     deductions from revenue required by GA.AP, which made it impossible

 13     for    the     Company   to    continue    to    achieve    quarterly     and    annual

 14     earnings growth as projected by the Company;

 15                    j.     that    CPC's      hospitals       were   routinely       out     of

 16     compliance with JCAHO requirements for minimum standards regarding

 17     the quality of patient care, particularly in regards to chronic

 18     under-staffing in its hospitals and violating JCAHO requirements

 19     concerning maintenance of patient medical charts.                      Because JCAHO

 20     and    other    regulatory     bodies    usually     schedule    compliance      visits

 21     months    in    advance,      CPC   hospitals     were    generally    able     to    hire

 22     additional temporary nurses and medical transcriptionists in order

 23     to make it appear the hospital was adequately staffed and enable

 24     the hospitals to manipulate, falsify and backdate patient medical

 25     charts;

 26                    k.     that based on information known only to defendants

 27     from internal corporate data, CPC would not continue its historical

 28


                                                 - 73 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 75 of 92 Page ID #:774



  1    growth in earnings per share of 150 or more throughout fiscal 1991

  2    as projected during the Class Period; and

  3                1.   that based on information known only to defendants

  4   from internal corporate data, they did not genuinely believe the

  5    earnings forecasts for the first, second and third quarters of

  6   fiscal 1991 and for the entire year being made for and on behalf of

  7    CPC and were aware that the adverse information known to them

  8    seriously   undermined      and   contradicted     those   forecasts,    which

  9   therefore had no reasonable basis.

 10          86.   The undisclosed adverse information set forth in X85, is

 11   the   type   of   information      which,   because    of   SEC   regulations,

 12   regulations of the national stock exchanges and customary business

 13   practice, is expected by investors and securities analysts to be

 14   disclosed and is known by corporate officials and their legal and

 15   financial advisors to be the type of information which is expected

 16   to be and must be disclosed.           For example:

 17                a.   Under Item 303 of Regulation S-K, promulgated by the

 18   SEC under the Exchange Act, there is a duty to disclose in periodic

 19   reports filed with the SEC "known trends or any known demands,

 20   commitments, events or uncertainties" that are reasonably likely to

 21   have a material impact on a company's sales revenues, income or

 22   liquidity, or cause previously reported financial information not

 23   to    be   indicative   of    future    operating     results.     17    C.F.R.

 24   §229.303(a)(1)-(3) and Instruction 3.          In addition to the periodic

 25   reports required under the Exchange Act, management of a public

 26   company has a duty promptly "to make full and prompt announcement

 27   of material facts regarding the company's financial condition."

 28   Release No. 34-8995 (October 15, 1970), 17 C.F.R. X241.8995.                The


                                           - 74 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 76 of 92 Page ID #:775



   1      SEC has repeatedly stated that the anti-fraud provisions of the

   2      federal securities laws,            which are intended          to ensure      that    the

   3      investing       public     is     provided      with    "complete     and      accurate

  4       information about companies whose securities are publicly traded,"

  5       apply to all public statements by persons speaking on behalf of

  6       publicly traded companies "that can reasonably be expected to reach

   7      investors and the trading markets, whoever the intended audience."

  8       Release No. 33-6504 (January 13, 1984) 3 Fed. Sec. L. Rep. (CCH)

  9       ~23,120B,       at    17,095-3,    17     C.F.R.    §241.20560.          The   SEC     has

 10       emphasized      that    "[i]nvestors      have     legitimate    expectations         that

 11       public    companies      are    making    and    will   continue    to    make   prompt

 12       disclosure of significant corporate developments."                        Release No.

 13       18271 (November 19, 1981) [1981-1982 Transfer Binder] Fed. Sec. L.

 14       Rep. (CCH) ¶83,049 at 84,618;

 15                   b.        Under the Rules of General Application of Regulation

 16       S-X of the SEC, 17 C.F.R. §210.4-01(a)(1), the principal accounting

 17       regulations governing the presentation of accounting information to

 18       the SEC, the SEC has stated that "[f] financial Statements filed with

 19       the Commission which are not presented in accordance with generally

 20       accepted accounting principles will be presumed to be misleading or

 21 ~',   inaccurate,      despite       footnote    or   other   disclosures,       unless     the

 22       Commission has otherwise provided;" and

 23                   c.        The New York Stock Exchange ("NYSE") Manual provides

 24       that a public company listed on the NYSE "is expected to release

 25       quickly    to    the     public    any    news     or   information      which    might

 26       reasonably be         expected to materially affect the market for its

 27       securities.          This is one of the most important and fundamental

 28


                                                    - 75 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 77 of 92 Page ID #:776



  1     purposes of the listing agreement which the company enters into

  2     with the Exchange."           NYSE Manual X202.05.

  3                             CPC'S FALSE FINANCIAL STATEMENTS

  4             87.    In order to achieve their goal of reporting substantially

  5     increased revenues and earnings during the Class Period and to

  6     artificially inflate and maintain the price of CPC's stock, the

  7     defendants manipulated CPC's reported revenues and earnings through

  8 ~   improper and misleading accounting practices in violation of GAAP.

  9             88.    CPC's     third    and   fourth    quarter     1990   and    year-ended

 10     November 30, 1990 financial statements and first, second and third

 11     quarter       1991    financial    statements     materially      overstated      CPC's

 12     revenues, earnings, assets and shareholder's equity in violation of

 13     GA.AP for the following reasons, among others:

 14                    a.      CPC   improperly       recognized      material     amounts     of

 15     revenue by failing to record amounts to be received for health care

 16     services at net realizable value.                GAAP requires that a provision

 17     for known contractual adjustments and discounts be deducted from

 18     gross     service       revenue    at   the    time   net     service      revenue     is

 19     recognized.          CPC materially overstated its net revenues during the

 20     Class Period in violation of               AICPA Audit and        Accounting Guide

 21     "Audits       of     Providers    of    Health    Care     Services,"      Accounting

 22     Principles Board ("APB") Opinion No. 10 "Omnibus Opinion - 1966," ~

 23     and FASB Statement of Concepts No. 5 "Recognition and Measurement

 24     in Financial Statements of Business Enterprises," and APB Statement

 25     ~DC•~~

 26                    b.      CPC failed to record timely and adequate reserves

 27     for   uncollectible          accounts    receivable      in    violation     of      FASB

 28     Statement No. 5 "Accounting for Contingencies," AICPA Audit and ~

                                                 - 76 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 78 of 92 Page ID #:777



  1    Accounting Guide "Audits of Providers of Health Services" and FASB

  2    Statement of Concepts No. 5.

  3                  c.     CPC failed to record timely and adequate expenses

  4    and   losses       relating    to   its    deferral       of   preopening   costs    in

  5    violation of FASB Statement No. 5 "Accounting for Contingencies,"

  6    and FASB Statements of Concepts Nos. 5 and 6.

  7                  d.     CPC failed to timely and adequately disclose the

  8   loss contingency relating to its exposure associated with CPC's

  9   fraudulent patient recruitment and billing practices in violation

 10   of FASB Statement No. 5 "Accounting for Contingencies."

 11          89.    CPC's financial statements issued during the Class Period

 12   also violated the following additional provisions of GAAP, among

 13   others:

 14                 a.      CPC's financial statements issued during the Class

 15   Period       failed    to   comply     with     the       accounting    principle     of

 16   reliability, which requires that reported information be reliable

 17   to the extent that users can depend on it to represent the economic

 18   conditions or events that it purports to represent and that such )

 19   information is reasonably free from error or bias.                     FASB Statement

 20   of Concepts No. 2 and APB Statement No. 4.

 21                 b.      CPC's financial statements issued during the Class

 22   Period    failed       to   comply     with     the       accounting    principle    of

 23   completeness which requires that financial information be complete

 24   and    that     it    validly    represents         the    underlying     events     and

 25   conditions.         FASB Statement of Concepts No. 2 and APB Statement No.

 26

 27                 c.      CPC's financial statements issued during the Class

 28   Period    failed       to   comply     with     the       accounting    principle    of


                                                 - 77 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 79 of 92 Page ID #:778



  1    conservatism, which requires that a conservative approach be taken

  2    in the accounting for transactions and the early recognition of

  3    unfavorable events.           FASB Statement of Concepts No. 2 and APB

  4    Statement No. 4.

  5                 d.      CPC's financial statements issued during the Class

  6    Period      failed    to    comply         with    the    accounting      principle    of

  7    neutrality,       which requires that there should be an absence, in

  8    reported information, of bias intended to attain a predetermined

  9    result.     FASB Statement of Concepts No. 2 and APB Statement No. 4.

 10                 e.      CPC's financial statements issued during the Class

 11   Period failed to comply with the accounting principle of relevance,

 12    which requires that reported information should have the capacity

 13   to    make   a   difference        in   a   decision      by   helping   users   to   form

 14   predictions about the outcomes of past, present and future events.

 15   FASB Statement of Concepts No. 2 and APB Statement No. 4.

 16                 f.      CPC's financial statements issued during the Class

 17   Period failed to comply with the accounting principle that a charge

 18   to income should be made if it is probable that an asset has been

 19   impaired at the date of the financial statements.                        FASB Statement

 20   of Concepts Nos. 5 and 6.

 21                                           ROLE OF E&Y

 22          90.    At all relevant times E&Y was engaged by CPC to provide

 23   independent accounting, consulting and auditing services.                         E&Y is

 24   named as a defendant in connection with the same facts and wrongful

 25   conduct as alleged herein in a related action captioned Dollard ,

 26   McGann v. Ernst & Younq, SACV-93-3712-AHS(EEx), which incorporates

 27   the    complaint      in    this    action     by    reference.      E&Y    rendered   an

 28   unqualified audit opinion on CPC's financial statements for fiscal

                                                  - 78 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 80 of 92 Page ID #:779



  1    year ended November 30, 1990 which was included in CPC's report on

  2    Form 10-K filed with the SEC.            For the reasons set forth in detail

  3    in the complaint in the related action against E&Y, E&Y's audit

  4    opinion with respect to CPC's financial statements for the year-

  5    ended November 30, 1990 was materially false and misleading in that

  6    E&Y   failed    to   perform      its   audit    in    conformity    with    Generally

  7    Accepted Auditing Standards ("GAAS") and CPC's financial statements

  8   for    the   year-ended      November      30,     1990      were   not   prepared    in

  9    accordance with GA.AP, as represented by E&Y in its audit opinion.

 10          91.   E&Y was also retained to perform a "Special Review" of

 11    CPC's fiscal 1991 accounts receivable as of August 31, 1991, as

 12   described in ¶80.        E&Y participated in making false statements to

 13   the market in the November 4, 1991 press release and in CPC's

 14   annual report on Form 10-K for the year ended November 30, 1991,

 15   filed with the SEC, to create the misleading impression that CPC's

 16   accounts receivable problems arose in the third quarter of fiscal

 17   1991 when, in fact, E&Y knew that these problems existed long

 18   before the third quarter.

 19                            DEFENDANTS' INSIDER SELLING

 20          92.   While    CPC officials        were    issuing favorable         statements

 21   about CPC's growth and business prospects, five insiders including

 22   the four Individual Defendants named herein sold more than 500,000

 23   shares of       CPC stock they owned for proceeds of                  more     than $14

 24   million to profit from the artificial inflation in the CPC stock

 25   price their fraud had created.                Notwithstanding their access to

 26   confidential information as a result of their status as directors

 27   and/or   officers      of    the    Company      with    a   corresponding     duty   to

 28   disclose     the   adverse    material facts            set forth    herein,    certain

                                               - 79 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 81 of 92 Page ID #:780



  1    defendants,    as   listed       below,    sold      or    otherwise      disposed      of

  2    significant amounts of CPC shares at artificially inflated prices

  3    throughout the Class Period:

  4                                        # of Shares                            Proceeds
            Name                 Date         Sold                  Price         from Sale
  5

  6    J. Conte                 11/09/90        145,213             28.00         $4,065,964

  7    R. Conte                 09/04/90         20,793             26.00         $ 540,618
                                12/13/90         76,617             29.38         $2,251,007
  8                             12/20/90          2,000             28.00         $   56,000
                                12/21/90          8,000             28.50         S  228,000
  9                                             107,410                           X3,075,625

 10    James P. Smith           10/16/90         10,000             26.38         $    263,800
                                12/26/90          4,735             28.88         $    136,746
 11                                              14,735                           ~    400,546

 12   Loren B. Shook            09/04/90         22,540             26.00         $ 586,040
                                12/13/90        120,141             29.38         $3,529,742
 13                                             142,681                           $4,115,782

 14   Robert L. Green           12/19/90          2,272             28.88         $   65,615
                                12/19/90         49,600             28.75         $1,426,000
 15                             12/19/90         45,700             28.00         $1,279,000
                                                97,572                            514,429,132
 16
                                Total           507,611                          $14,429,132
 17
      *At the time of his sales Robert L. Green was a director of CPC and
 18
      was formerly Chairman of the Board through 1989.
 19
                                            COUNT I
 20
                          For Violations of ~10(b) of the
 21                   Exchange Act and Rule 10b-5 of the SEC

 22         93.    Plaintiffs     incorporate         by   reference   ¶¶1-92     as     if   set

 23   forth fully herein.        This Count is asserted against all defendants.

 24         94.    The defendants knew, or were reckless in failing to know,

 25   of the material omissions from and misrepresentations contained in

 26   the   statements     as    set    forth    above.          Because    of   their    Board

 27   membership and/or their executive and managerial positions with

 28   CPC, each of the Individual Defendants: knew or had access to the

                                                 .~
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 82 of 92 Page ID #:781



  1      material      adverse    non-public            information    about      CPC's       adverse

  2      financial outlook and              then existing business conditions,                  which

  3      information      was    not    disclosed;         and    drafted,       reviewed      and/or

  4      approved the misleading statements, releases, reports and other

  5      public representations of and about CPC.

  6              95.   Throughout the Class Period, defendants, with knowledge

  7      or   reckless    disregard         for   the    truth,   disseminated          or   approved

  8      releases, statements and reports, referred to above, which were

  9      misleading in that they contained misrepresentations and failed to

 10      disclose material facts necessary in order to make the statements

 11      made, in light of the circumstances under which they were made, not i

 12      misleading.

 13            96.     During the Class Period, defendants, individually and in

 14      concert, directly and indirectly, engaged and participated in a

 15      continuous course of conduct and scheme to conceal adverse material

 16      information     regarding          the   financial      outlook    of   the    Company    as

 17      specified     herein.         Defendants         employed    devices,         schemes    and

 18      artifices to defraud and engaged in acts, practices and a course of

 19      conduct as herein alleged to commit a fraud on the integrity of the

 20      market for the Company's stock and to maintain artificially high

 21 ',   market prices for the common stock of CPC.                         This included the

 22      formulation,     making       of    and/or     participation       in   the    making    of,

 23      untrue    statements of        material facts and            the   omission         to state

 24      material facts necessary in order to make the statements made, in

 25      light    of   the   circumstances          under     which    they      were    made,    not

 26      misleading, and engaging in acts, practices and a course of conduct

 27      which operated as a fraud and deceit upon plaintiffs and the Class,




                                                    - 81 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 83 of 92 Page ID #:782



  1 1   all of the above in connection with the purchase of CPC common

  2     stock by plaintiffs and members of the Class.

  3           97.   By   reason   of   the   conduct    alleged      herein,    defendants

  4     knowingly or recklessly, directly and indirectly, have violated

  5     ~10(b) of the Exchange Act and Rule lOb-5 promulgated thereunder in

  6     that they: (a) employed devices, schemes and artifices to defraud;

  7     (b) made untrue statements of material facts or omitted to state

  8     material facts necessary in order to make statements made, in light ,

  9     of the circumstances under which they were made, not misleading; or

 10     (c)   engaged    in acts,    practices and      a   course    of   business   that

 11     operated as a fraud or deceit upon plaintiffs and others similarly

 12     situated in connection with their purchases of CPC common stock

 13     during the Class Period.

 14           98.   Plaintiffs      and   the   Class   have   suffered        substantial

 15     damages in that, in reliance on the integrity of the market, they

 16     paid artificially inflated prices for CPC common stock as a result

 17     of defendants' violations of ~10(b) of the Exchange Act and SEC

 18     Rule 10b-5.      Plaintiffs and the Class would not have purchased CPC

 19     stock at the prices they paid, or at all, if they -had been aware

 20     that the market prices had been artificially and falsely inflated

 21     by defendants' false and misleading statements.               At the time of the

 22     purchases by plaintiffs, and the Class, of CPC common stock, the

 23     fair market value of said common stock was substantially less than

 24     the prices paid by them.

 25

 26

 27

 28

                                             - 82 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 84 of 92 Page ID #:783



  1                                          COUNT II

  2                         For Violation Of §20(a) Of The
                    Exchange Act Against The Individual Defendants
  3
              99.    Plaintiffs incorporate by reference ¶¶1-98 above as if
  4
       set   forth    fully   herein.       This   Count      is   asserted      against   the
  5
       Individual Defendants.
  6
              100. The Individual Defendants acted as controlling persons of
  7
      the Company within the meaning of §20 of the Exchange Act.                            By
  8
       reason of their positions as senior officers and/or directors, and
  9
      their stock ownership, as alleged above, these defendants had the
 10
      power and authority to cause the Company to engage in the wrongful
 11
       conduct complained of herein.
 12
             101. By reason of such wrongful conduct, defendants are liable
 13
      pursuant to §20(a) of the Exchange Act.                 As a direct and proximate
 14
      result of the defendants' wrongful conduct, plaintiffs and the
 15
      other members of the Class suffered damages in connection with
 16
      their    purchases      of   the    Company's    securities     during      the    Class
 17
      Period.
 18
              WHEREFORE, plaintiffs, on behalf of themselves and the Class,
 19
      pray for judgment as follows:
 20
             1.      Declaring     this   action   to   be     a   proper     class     action
 21
      pursuant to Rules 23(a) and 23(b)(3) of the Federal Rules of Civil
 22
      Procedure on behalf of the Class defined herein;
 23
             2.      Awarding      plaintiffs   and     the    members      of    the    Class
 24
      compensatory damages;
 25
             3.      Awarding plaintiffs and the members of the Class, pre-
 26
      judgment and post-judgment interest, as well as their reasonable
 27
      attorneys' fees, expert witness fees and other costs;



                                              - 83 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 85 of 92 Page ID #:784



  1          4.   Awarding extraordinary equitable and/or injunctive relief

  2    as permitted by law, equity and the federal statutory provisions

  3    sued hereunder, pursuant to Rules 64, 65 and any appropriate state

  4    law   remedies       including   attaching,    impounding,    imposing    a

  5    constructive trust on or otherwise restricting the proceeds of

  6    defendants' trading activities or their other assets to assure that

  7    plaintiffs have an effective remedy; and

  8          5.   Awarding such other relief as this Court may deem just

  9    and proper.

 10                                     JURY DEMAND

 11          Plaintiffs demand a trial by jury.

 12   DATED:            5        S
                                               MILBERG WEISS BERSHAD
 13                                              HYNES & LERACH
                                               ALAN SCHULMAN
 14                                            ANITA MELEY LAING

 15

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 26

 27

 28


                                          - 84 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 86 of 92 Page ID #:785



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                                               KEVIN J. YOURMAN
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                                         - 85 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 87 of 92 Page ID #:786



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Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 88 of 92 Page ID #:787



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                                         - 87 -
Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 89 of 92 Page ID #:788



  1                         DECLARATION OF SERVICE BY MAIL

  2

  3          I, the undersigned, declare:

  4         1.      That declarant is and was, at all times herein mentioned,

  5    a citizen of the United States and a resident of the County of San

  6    Diego, over the age of 18 years, and not a party to or interested

  7    in the within action; that declarant's business address is 600 West

  8    Broadway, Suite 1800, San Diego, California            92101.

  9         2.    That on May 5, 1995, declarant served the SECOND AMENDED

 10    CONSOLIDATED CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL '~

 11    SECURITIES    LAWS   by depositing   a   true   copy   thereof   in   a   United

 12   States mailbox at San Diego, California in a sealed envelope with

 13   postage thereon fully prepaid and addressed to the parties listed

 14   on the attached Service List.

 15         3.    That there is a regular communication by mail between the

 16   place of mailing and the places so addressed.

 17         I declare under penalty of perjury that the foregoing is true

 18   and correct.      Executed this 5th day of May, 1995, at San Diego,

 19    California.

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 21                                                     YVETTE D. GRAY

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     Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 90 of 92 Page ID #:789

CPC
Service List - 01/30/95
Page   1


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     Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 91 of 92 Page ID #:790
CPC
Service List - 01/30/95
Page   2


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        Case 8:91-cv-00533-AHS Document 190 Filed 05/09/95 Page 92 of 92 Page ID #:791
 CPC
 Service List - 01/30/95
 Page   3


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